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 7

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 9                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
10

11
     PAUL DURAN, Derivatively and on Behalf
12   of PUMA BIOTECHNOLOGY, INC.,                         Case No.:

13
                   Plaintiff,
14
                   vs.
15

16   ALAN H. AUERBACH, CHARLES R.
     EYLER, THOMAS R. MALLEY, JAY M.
17
     MOYES, TROY E. WILSON, FRANK
18   ZAVRL, and ADRIAN M.
     SENDEROWICZ,
19

20                 Defendants,                            DEMAND FOR JURY TRIAL

21
                     and
22

23
     PUMA BIOTECHNOLOGY, INC.,

24                   Nominal Defendant.
25

26
27

28
                                                    1
                                Verified Shareholder Derivative Complaint
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 1
                  VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
 2
                                        INTRODUCTION
 3
             Plaintiff Paul Duran (“Plaintiff”), by his undersigned attorneys, derivatively and
 4   on behalf of Nominal Defendant Puma Biotechnology, Inc. (“Puma” or the
 5   “Company”), files this Verified Shareholder Derivative Complaint against Individual
 6   Defendants Alan H. Auerbach, Charles R. Eyler, Thomas R. Malley, Jay M. Moyes,
 7   Troy E. Wilson, Frank Zavrl, and Adrian M. Senderowicz (collectively, the “Individual
 8   Defendants”) for breaches of their fiduciary duties as directors and/or officers of Puma,
 9   unjust enrichment, abuse of control, gross mismanagement, and waste of corporate
10   assets. The allegations in this Complaint are made upon Plaintiff’s personal knowledge
11   as to himself and his own acts, and information and belief as to all other matters, based
12   upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which

13
     included, among other things, a review of the Defendants’ public documents,
     conference calls and announcements made by Defendants, United States Securities and
14
     Exchange Commission (“SEC”) filings, wire and press releases published by and
15
     regarding Puma, legal filings, news reports, securities analysts’ reports and advisories
16
     about the Company, and information readily obtainable on the Internet. Plaintiff
17
     believes that substantial evidentiary support will exist for the allegations set forth herein
18
     after a reasonable opportunity for discovery.
19
                                  NATURE OF THE ACTION
20
             1.    This is a shareholder derivative action that seeks to remedy wrongdoing
21
     committed by Puma’s directors and officers. The wrongdoing described herein has
22   taken place, at least, since February 14, 2014 and is continuing through the day of the
23   filing of this action. As the wrongdoing is ongoing, some of the allegations of
24   wrongdoing described herein are still being committed, to the compounding detriment
25   of Puma and its shareholders.
26           2.    Puma is a biopharmaceutical company based in Los Angeles, California
27   with a focus on the development and commercialization of products to enhance cancer
28   care.    The Company is specifically focused on developing and commercializing
                                                   2
                               Verified Shareholder Derivative Complaint
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 1
     neratinib for the treatment of patients with human epidermal growth factor receptor type
 2
     2, or HER2-positive, breast cancer, HER2 mutated non-small cell lung cancer, HER2-
 3
     negative breast cancer that has a HER2 mutation and other solid tumors that have an
 4   activating mutation in HER2.
 5         3.     Neratinib is a potent irreversible tyrosine kinase inhibitor, or TKI, that
 6   blocks signal transduction through the epidermal growth factor receptors, HER1, HER2
 7   and HER4.
 8         4.     Prior to the truth about the Company’s misconduct emerging, Puma was
 9   actively developing only a single drug compound, PB272 (“neratinib” or “PB272”).
10   Puma licensed the rights to develop and market neratinib from Pfizer in 2011. Puma
11   currently in-licenses the global development and commercialization rights to three drug
12   candidates: PB272 (neratinib (oral)), PB272 (neratinib (intravenous)), and PB357.

13
           5.     In the face of mounting financial pressures and a plummeting stock price,
     Puma’s management set out on a campaign to misrepresent the success and potential of
14
     the Company and its progress in the development of neratinib. Between July 22, 2014
15
     and June 1, 2015, the Company touted results from its leading Phase III trial, which, if
16
     true, would have set neratinib on a path to be a market leader, generating billions in
17
     revenue on the market.        Moreover, Puma, through the Individual Defendants,
18
     represented that it would be able to market neratinib in 2015.
19
           6.     These representations, however, were false and misleading and the
20
     Company’s fraud was exposed in a very harsh and public manner. The news caused a
21
     stock crash, and the price of the Company’s stock now sits at an all-time low.
22         7.     The Company’s public statements were materially false and misleading at
23   all relevant times and caused an artificial inflation of Puma’s stock price.
24         8.     In breach of their fiduciary duties owed to Puma, the Individual
25   Defendants willfully or recklessly made and/or caused the Company to make at least
26   the following false and/or misleading statements of material fact: (1) ExteNET trial data
27   showed an absolute difference in disease-free survival rates between neratinib and
28   placebo of approximately 5%, (2) the data from the ExteNET trial demonstrated a 33%
                                                  3
                              Verified Shareholder Derivative Complaint
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 1
     improvement in disease-free survival, (3) the data from the ExteNET trial showed that
 2
     the Kaplan-Meier curves were separating or widening, (4) the results from the ExteNET
 3
     trial were “in line” with the Herceptin Adjuvent Studies, (5) the Company anticipated
 4   filing a New Drug Application (“NDA”) for neratinib in the first half of 2015, (6) that
 5   approximately 29% to 30% of patients treated with neratinib suffered grade 3 or 4
 6   diarrhea, and that the dropout rate due to adverse events would be 5% to 10%, and (7)
 7   the Company anticipated filing an NDA for neratinib in the first quarter of 2016. These
 8   facts pertained to the Company’s business, operations, and prospects and the falsity of
 9   these statements was known to the Individual Defendants or recklessly disregarded by
10   them. The Company’s statements and representations referenced above were materially
11   false and misleading at all relevant times. The Individual Defendants failed to correct
12   and/or caused the Company to fail to correct the false and/or misleading statements

13
     and/or omissions of material fact referenced, rendering them personally liable to the
     Company for breaching their fiduciary duties.
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           9.     The Individual Defendants additionally breached their fiduciary duty by
15
     failing to maintain internal controls.
16
           10.    Moreover, Defendant Auerbach breached his fiduciary duties by actively
17
     seeking to have the Company acquired by a larger pharmaceutical company after
18
     Puma’s stock price was artificially inflated due to the false and misleading statements.
19
           11.    The Individual Defendants’ breaches of fiduciary duty and other
20
     misconduct have subjected the Company, the Company’s CEO-President-Chairman,
21
     and its top financial and accounting officer to a federal securities fraud class action
22   lawsuit pending in the United States District Court for the Central District of California
23   (the “Securities Fraud Class Action”), the need to undertake internal investigations,
24   losses due to the unjust enrichment of Individual Defendants who were improperly
25   over-compensated by the Company, and will cost the Company going forward many
26   millions of dollars.
27         12.    The Individual Defendants, who managed and controlled Puma,
28   knowingly, recklessly, or at least with gross negligence, breached their fiduciary duties
                                                   4
                               Verified Shareholder Derivative Complaint
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 1
     by conspiring with one another to force the Company to issue false and misleading
 2
     statements and/or omissions of material fact and to sell hundreds of millions of dollars
 3
     worth of Company stock at artificially inflated prices for the purpose of increasing the
 4   Individual Defendants’ salaries and stock grants.
 5         13.     The Company’s Board of Directors (“Board”) has already rejected a
 6   demand for corporate reforms brought by one its large shareholders and rejected another
 7   demand by another shareholder while justifying its rejection due to relying on the
 8   investigation of partial attorneys who defended related securities fraud claims. In the
 9   course of doing so, it engaged in an obstinate bout full of rejection, dismissal, and
10   personal attacks.
11         14.     But even if a demand had not been made, a majority of the Board cannot
12   consider a demand to commence litigation against themselves on behalf of the Company

13
     with the requisite level of disinterestedness and independence in light of Defendants’
     conduct, which has subjected the Company to the Securities Fraud Class Action.
14
           15.     The Company has been substantially damaged as a result of the Individual
15
     Defendants’ knowing or highly reckless breaches of fiduciary duty and other
16
     misconduct.
17
                                 JURISDICTION AND VENUE
18
           16.     Diversity jurisdiction is conferred by 28 U.S.C. § 1332. Plaintiff and
19
     Individual Defendants are citizens of different states and the amount in controversy
20
     exceeds the sum or value of $75,000, exclusive of interest and costs.
21
           17.     This Court has supplemental jurisdiction over Plaintiff’s state law claims
22   pursuant to 28 U.S.C. § 1367(a).
23         18.     This derivative action is not a collusive action to confer jurisdiction on a
24   court of the United States that it would not otherwise have.
25         19.     The Court has personal jurisdiction over each of the Defendants because
26   each Defendant is either a corporation conducting business and maintaining operations
27   in this District, or he or she is an individual who is a citizen of California or who has
28   minimum contacts with this District to justify the exercise of jurisdiction over them.
                                                   5
                               Verified Shareholder Derivative Complaint
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 1
           20.    Venue is proper in this District because a substantial portion of the
 2
     transactions and wrongs complained of herein occurred in this District, and the
 3
     Defendants have received substantial compensation in this District by engaging in
 4   numerous activities that had an effect in this District.
 5                                           PARTIES
 6         Plaintiff
 7         21.    Plaintiff is a current shareholder of Puma. Plaintiff has been a shareholder
 8   of Puma common stock at all relevant times, and has continuously held Puma common
 9   stock at all relevant times. Plaintiff is a citizen of Oregon.
10         Nominal Defendant Puma
11         22.    Puma is a Delaware corporation with its principal executive offices at
12   10880 Wilshire Boulevard, Suite 2150, Los Angeles, California 90024. Puma’s shares

13
     trade on the New York Stock Exchange (“NYSE”) under the ticker symbol “PBYI.”
           23.    On February 16, 2016, the Individual Defendants caused Puma’s
14
     certificate of incorporation to be amended with a forum selection clause requiring all
15
     shareholder derivative actions to be filed in the Court of Chancery of the State of
16
     Delaware. The forum selection clause in Puma’s amended certificate of incorporation
17
     is invalid and is not binding as to Plaintiff’s claims because the amendment was made
18
     after the Individual Defendants engaged in the misconduct alleged herein.
19
           Defendant Auerbach
20
           24.    Defendant Alan H. Auerbach (“Auerbach”) has served as the Company’s
21
     President, Chief Executive Officer (“CEO”) and Chairman of the Board since October
22   4, 2011. Defendant Auerbach has full control and authority, as its sole member, of the
23   Company’s Stock Option Committee, entrusted with the authority to grant stock options
24   to non-executive employees. For fiscal year 2014, the Stock Option Committee granted
25   1,980,208 stock options. According to the Company’s Schedule 14A filed with the SEC
26   on April 30, 2014 (the “2014 Proxy Statement”), as of April 17, 2014, Defendant
27   Auerbach beneficially owned 6,386,804 shares of the Company’s common stock, which
28   represented 19.7% of the Company’s outstanding shares. According to the Company’s
                                                   6
                               Verified Shareholder Derivative Complaint
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 1
     Schedule 14A effectively filed with the SEC on April 30, 2015 (the “2015 Proxy
 2
     Statement”), as of April 17, 2015, Defendant Auerbach beneficially owned 6,556,249
 3
     shares of the Company’s common stock, which represented 18.9% of the Company’s
 4   outstanding shares. Given that, as of the close of trading on May 13, 2015, the day the
 5   fraud began to be exposed, one share of common stock traded for $209.72, Defendant
 6   Auerbach beneficially owned almost $1.4 billion worth of Company common stock.
 7         25.   For the fiscal year ended December 31, 2013, Defendant Auerbach
 8   received $5,372,571 as compensation from the Company, which included, $60,000 as
 9   a cash bonus, $546,667 as base salary, and stock worth $4,555,285. For the fiscal year
10   ended December 31, 2014, Defendant Auerbach received $17,797,606 as compensation
11   from the Company, which included, $300,000 as a cash bonus, $610,000 as base salary,
12   and stock worth $16,876,576. On October 7, 2015, the Compensation Committee of

13
     the Board approved an increase in Defendant Auerbach’s salary from $630,000 to
     $693,000, effective retroactively as of September 1, 2015.
14
           26.   The Company’s 2015 Proxy Statement stated the following about
15
     Defendant Auerbach:
16
                Alan H. Auerbach. Mr. Auerbach has served as Chairman of
17              our Board and as our President and Chief Executive Officer
                since October 4, 2011. Prior to October 4, 2011, he served in
18
                such capacity at Puma Biotechnology, Inc. (“Puma”) , a
19              privately-held Delaware corporation and our predecessor,
                from its inception in September 2010. Prior to founding
20
                Puma, Mr. Auerbach founded Cougar Biotechnology, Inc.
21              (“Cougar”) in May 2003 and served as its Chief Executive
                Officer, President and a member of its board of directors until
22
                July 2009, when Cougar was acquired by Johnson & Johnson.
23              From July 2009 until January 2010, Mr. Auerbach served as
                the Co-Chairman of the Integration Steering Committee at
24
                Cougar (as part of Johnson & Johnson) that provided
25              leadership and oversight for the development and global
                commercialization of Cougar’s lead drug candidate,
26
                abiraterone acetate, for the treatment of advanced prostate
27              cancer. Prior to founding Cougar, from June 1998 to April
28
                2003, Mr. Auerbach was a Vice President, Senior Research
                                                 7
                             Verified Shareholder Derivative Complaint
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 1               Analyst at Wells Fargo Securities, where he was responsible
 2               for research coverage of small- and middle-capitalization
                 biotechnology companies, with a focus on companies in the
 3               field of oncology. Mr. Auerbach has served as a director of
 4               Radius Health, Inc., a public pharmaceutical company
                 focused on acquiring and developing new therapeutics for the
 5               treatment of osteoporosis and other women’s health
 6               conditions, since May 2011 and its predecessor entity from
                 October 2010 to May 2011. Mr. Auerbach received a B.S. in
 7               Biomedical Engineering from Boston University and an M.S.
 8               in Biomedical Engineering from the University of Southern
                 California. Mr. Auerbach was nominated to serve as a
 9               director because of his position as our President and Chief
10               Executive Officer and his significant experience as an
                 executive and research analyst in the biotechnology industry.
11

12         27.   Defendant Auerbach is a citizen of California.
13         Defendant Eyler
14
           28.   Defendant Charles R. Eyler (“Eyler”) has served as the Company’s Senior
15
     Vice President, Finance and Administration and Treasurer since October 4, 2011.
16   According to the 2014 Proxy Statement, as of April 17, 2014, Defendant Eyler
17   beneficially owned 93,750 shares of the Company’s common stock. According to the
18   2015 Proxy Statement, as of April 17, 2015, Defendant Eyler beneficially owned
19   123,874 shares of the Company’s common stock. Given that, as of the close of trading
20   on May 13, 2015, the day the fraud began to be exposed, one share of common stock
21   traded for $209.72, Defendant Eyler beneficially owned just under $26 million worth
22   of Company common stock.
23         29.   For the fiscal year ended December 31, 2013, Defendant Eyler received
24   $1,283,418 as compensation from the Company, which included, $83,475 as a cash

25
     bonus, $282,900 as base salary, and stock worth $901,228. For the fiscal year ended
     December 31, 2014, Defendant Eyler received $4,499,559 as compensation from the
26
     Company, which included, $117,610 as a cash bonus, $304,336 as base salary, and stock
27
     worth $4,061,879. On October 8, 2015, the Compensation Committee of the Board
28
                                                 8
                             Verified Shareholder Derivative Complaint
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 1
     approved an increase in Defendant Eyler’s salary, from $333,108 to $372,600, effective
 2
     retroactively as of September 1, 2015.
 3
           30.   The Company’s 2015 Proxy Statement stated the following about
 4   Defendant Eyler:
 5              Charles R. Eyler. Mr. Eyler has served as our Senior Vice
                President, Finance and Administration and Treasurer since
 6
                October 4, 2011. Prior to October 4, 2011, he served in such
 7              capacity at Puma beginning on September 1, 2011. Prior to
                joining Puma, Mr. Eyler served as Senior Vice President of
 8
                Finance at Cougar until July 2009, when Cougar was acquired
 9              by Johnson & Johnson. He also served as Treasurer of Cougar
                from April 2006 to July 2009. From July 2009 until March
10
                2010, Mr. Eyler served on the Integration Steering
11              Committee at Cougar (as part of Johnson & Johnson) and
                oversaw the integration of Cougar’s finance and IT functions
12
                with those of Johnson & Johnson. From April 2010 until
13              September 2011, Mr. Eyler explored various entrepreneurial
                and other opportunities. Prior to joining Cougar, Mr. Eyler
14
                served as Chief Financial Officer and Chief Operating Officer
15              of Hayes Medical Inc. from March 1999 to January 2004.
                Mr. Eyler received his B.S. from Drexel University and his
16
                M.B.A. from Saint Francis College.
17

18
           31.   Defendant Eyler is a citizen of California.
           Defendant Malley
19
           32.   Defendant Thomas R. Malley (“Malley”) served as a director of the
20
     Company between October 4, 2011 and September 11, 2015, when he resigned.
21
     Defendant Malley served as Chairman of the Audit Committee and a member of the
22
     Compensation Committee and Nominating and Corporate Governance Committee.
23
     According to the 2014 Proxy Statement, as of April 17, 2014, Defendant Malley
24
     beneficially owned 209,326 shares of the Company’s common stock. According to the
25
     2015 Proxy Statement, as of April 17, 2015, Defendant Malley beneficially owned
26
     228,495 shares of the Company’s common stock. Given that, as of the close of trading
27   on May 13, 2015, the day the fraud began to be exposed, one share of common stock
28
                                                 9
                             Verified Shareholder Derivative Complaint
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 1
     traded for $209.72, Defendant Malley beneficially owned just under $48 million worth
 2
     of Company common stock.
 3
           33.   For the fiscal year ended December 31, 2013, Defendant Malley received
 4   $694,177 in compensation from the Company. For the fiscal year ended December 31,
 5   2014, Defendant Malley received $1,175,105 in compensation from the Company,
 6   $50,000 of which was paid in cash.
 7         34.   The Company’s 2015 Proxy Statement stated the following about
 8   Defendant Malley:
 9
                Thomas R. Malley. Mr. Malley has been a director since
                October 4, 2011. Since May 2007, Mr. Malley has served as
10              President of Mossrock Capital, LLC, a private investment
11
                firm. From April 1991 to May 2007, Mr. Malley served with
                Janus Mutual Funds as an analyst for eight years and as a Vice
12              President and Portfolio Manager for the Janus Global Life
13              Sciences Fund for eight years. Since November 2012,
                Mr. Malley has served as a director of OvaScience, Inc., a life
14              science company developing proprietary products to improve
15              the treatment of female infertility. Since October 2006,
                Mr. Malley has served as a director of Synageva BioPharma
16              Corp., a public clinical-stage biopharmaceutical company
17              focused      on    the   discovery,     development        and
                commercialization of therapeutic products for patients with
18              life-threatening rare diseases and unmet medical needs.
19              Mr. Malley previously served as a director of Cougar from
                2007 to 2009. Mr. Malley received a B.S. in Biology from
20              Stanford University in 1991. Mr. Malley was nominated to
21              serve as a director because of his industry and investment
                experience.
22

23         35.   Defendant Malley is a citizen of Colorado.
24         Defendant Moyes

25         36.   Defendant Jay M. Moyes (“Moyes”) has been a director of the Company
     since April 27, 2012. He serves as Chairman of the Compensation Committee and a
26
     member of the Audit Committee and Nominating and Corporate Governance
27
     Committee. According to the 2014 Proxy Statement, as of April 17, 2014, Defendant
28
                                                10
                             Verified Shareholder Derivative Complaint
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 1
     Moyes beneficially owned 48,887 shares of the Company’s common stock. According
 2
     to the 2015 Proxy Statement, as of April 17, 2015, Defendant Moyes beneficially owned
 3
     79,166 shares of the Company’s common stock. Given that, as of the close of trading
 4   on May 13, 2015, the day the fraud began to be exposed, one share of common stock
 5   traded for $209.72, Defendant Moyes beneficially owned over $16.6 million worth of
 6   Company common stock.
 7         37.   For the fiscal year ended December 31, 2013, Defendant Moyes received
 8   $694,177 in compensation from the Company. For the fiscal year ended December 31,
 9   2014, Defendant Moyes received $1,175,105 in compensation from the Company,
10   $50,000 of which was paid in cash.
11         38.   The Company’s 2015 Proxy Statement stated the following about
12   Defendant Moyes:
                Jay M. Moyes. Mr. Moyes has been a director since April 27,
13              2012. Mr. Moyes has been a member of the Board and
14              chairman of the audit committee of Osiris Therapeutics, Inc.,
                a publicly-held bio-surgery company, since May 2006. He
15              has also been a member of the board of directors and the
16              chairman of the audit committee for each of Biocardia, Inc.,
                a privately-held cardiovascular regenerative medicine
17              company, and Integrated Diagnostics, Inc., a privately-held
18              molecular diagnostics company, since January 2011 and
                March 2011, respectively. Mr. Moyes was a member of the
19              board of directors of Amedica Corporation, a public
20              orthopedic implant company, from November 2012 to August
                2014. He also served as Chief Financial Officer of Amedica
21              from October 2013 to August 2014. From May 2008 through
22              July 2009, Mr. Moyes served as the Chief Financial Officer
                of XDx, Inc., a privately-held molecular diagnostics
23
                company. Prior to that, Mr. Moyes served as the Chief
24              Financial Officer of Myriad Genetics, Inc., a publicly-held
                healthcare diagnostics company, from June 1996 until his
25
                retirement in November 2007, and as its Vice President of
26              Finance from July 1993 until July 2005. From 1991 to 1993,
                Mr. Moyes served as Vice President of Finance and Chief
27
                Financial Officer of Genmark, Inc., a privately-held genetics
28              company. Mr. Moyes held various positions with the
                                                11
                             Verified Shareholder Derivative Complaint
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 1               accounting firm of KPMG LLP from 1979 through 1991,
 2               most recently as a Senior Manager. He holds an M.B.A. from
                 the University of Utah, a B.A. in economics from Weber State
 3               University, and is formerly a Certified Public Accountant.
 4               Mr. Moyes also served as a member of the Board of Trustees
                 of the Utah Life Science Association from 1999 through
 5               2006. Mr. Moyes was nominated to serve as a director
 6               because of his extensive background in finance and
                 accounting and his experience in the context of the life
 7               sciences industry enables him to make significant
 8               contributions to the Board.
 9         39.   Upon information and belief, Defendant Moyes is a citizen of California.
10         Defendant Wilson
11         40.   Defendant Troy E. Wilson (“Wilson”) has been a director of the Company
12   since October 18, 2013. He serves as a member of the member of the Audit Committee.
13   According to the 2014 Proxy Statement, as of April 17, 2014, Defendant Wilson
14   beneficially owned 900 shares of the Company’s issued and outstanding common stock.
15   According to the 2015 Proxy Statement, as of April 17, 2015, Defendant Wilson
16   beneficially owned 26,732 shares of the Company’s common stock. Given that, as of
17   the close of trading on May 13, 2015, the day the fraud began to be exposed, one share

18   of common stock traded for $209.72, Defendant Wilson beneficially owned over $5.6

19
     million worth of Company common stock.
           41.   For the fiscal year ended December 31, 2013, Defendant Wilson received
20
     $1,934,008 in compensation from the Company. For the fiscal year ended December
21
     31, 2014, Defendant Wilson received $1,175,105 in compensation from the Company,
22
     $50,000 of which was paid in cash.
23
           42.   The Company’s 2015 Proxy Statement stated the following about
24
     Defendant Wilson:
25              Troy E. Wilson. Dr. Wilson has been a director since
26              October 18, 2013. Dr. Wilson has been the President and
                Chief Executive Officer and a member of the board of
27              directors of Kura Oncology, Inc., a public reporting clinical
28              stage biopharmaceutical company discovering and
                                                12
                             Verified Shareholder Derivative Complaint
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 1               developing personalized therapeutics for the treatment of
 2               solid tumors and blood cancers, since August 2014. He has
                 also been the President and Chief Executive Officer and a
 3               member of the board of managers of Avidity NanoMedicines
 4               LLC, a private biopharmaceutical company, since November
                 2012 and the President and Chief Executive Officer and a
 5               member of the board of managers of Wellspring Biosciences
 6               LLC, a private biopharmaceutical company, since July 2012
                 and May 2012, respectively. Dr. Wilson served as the
 7               President and Chief Executive Officer and a member of the
 8               board of directors of Intellikine, a private biopharmaceutical
                 company, from April 2007 to January 2012 and from August
 9               2007 to January 2012, respectively. He has served as a
10               director of Zosano Pharma Corporation, a public clinical
                 stage specialty pharmaceutical company that has developed a
11               proprietary transdermal microneedle patch system to deliver
12               its proprietary formulations of existing drugs through the skin
                 for the treatment of a variety of indications, since June 2014,
13               and as a member of the board of managers of Araxes Pharma
14               LLC, a private biopharmaceutical company, since May 2012.
                 He holds a J.D. from New York University and graduated
15               with a Ph.D. in bioorganic chemistry and a B.A. in biophysics
16               from the University of California, Berkeley. Dr. Wilson was
                 nominated to serve as a director because of his background in
17               finance and accounting and his experience in the life sciences
18               industry.
19
           43.   Defendant Wilson is a citizen of California.
20         Defendant Zavrl
21
           44.   Defendant Frank Zavrl (“Zavrl”) has been a director of the Company since
22
     September 8, 2015 when he was appointed to serve on the Board in place of Defendant
23
     Malley. Upon Defendant Zavrl’s appointment to the Board, he was also appointed to
24
     the Audit Committee, on which he currently serves.            According to the 12/4/15
25   Presentation (defined below), Defendant Zavrl beneficially owned 913,076 shares of
26   the Company’s common stock, which represented 2.8% of the Company’s outstanding
27   shares. Given that, as of the close of trading on September 8, 2015, the day of his
28
                                                13
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 1
     appointment, one share of common stock traded for $91.13, Defendant Zavrl
 2
     beneficially owned over $83.2 million worth of Company common stock.
 3
             45.   For the fiscal year ended December 31, 2015, Defendant Zavrl was entitled
 4   to receive an annual cash retainer of $50,000. In addition, Defendant Zavrl received an
 5   option to purchase 30,000 shares of the Company’s common stock. The option has an
 6   exercise price of $95.22 per share and will vest over a three-year period from the grant
 7   date.
 8           46.   The Company announced Defendant Zavrl’s appointments in a September
 9   9, 2015 Form 8-K filed with the SEC and signed by Defendant Auerbach (the “9/9/15
10   8-K”). The 9/9/15 8-K stated the following about Defendant Zavrl:
                 Mr. Zavrl served as a Partner at Adage Capital Management,
11
                 L.P. from 2002 to 2011, specializing in biotechnology
12               investments. Prior to joining Adage Capital, Mr. Zavrl was a
                 Portfolio Manager from 1999 to 2002 at Merlin Biomed, a
13
                 healthcare investment group. From 1998 to 1999, Mr. Zavrl
14               was an analyst at Scudder Kemper Investments Inc., focusing
                 on biotechnology investments. Mr. Zavrl received a B.S. in
15
                 Biochemistry from the University of California, Berkeley and
16               an M.B.A. from the Tuck School of Business at Dartmouth
                 College. Mr. Zavrl was selected as a director because of his
17
                 significant experience and background in the biotechnology
18               investments field.
19
             47.   Upon information and belief, Defendant Zavrl is a citizen of
20
     Massachusetts.
21
             Defendant Senderowicz
22           48.   Defendant Adrian M. Senderowicz (“Senderowicz”) has been a director of
23   the Company since August 11, 2015. He serves on the Compensation Committee.
24   According to a Statement of Changes in Beneficial Ownership filed on Form 4 with the
25   SEC on August 13, 2015 and signed by Defendant Senderowicz, Senderowicz
26   beneficially owned 30,000 shares of the Company’s common stock. Given that, as of
27   the close of trading on August 13, 2015, one share of common stock traded for $89,
28
                                                 14
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 1
     Defendant Senderowicz beneficially owned almost $2.7 million worth of Company
 2
     common stock.
 3
           49.    For the fiscal year ended December 31, 2015, Defendant Senderowicz was
 4   entitled to receive an annual cash retainer of $50,000.              In addition, Defendant
 5   Senderowicz received an option to purchase 30,000 shares of the Company’s common
 6   stock. The option has an exercise price of $97.01 per share and will vest over a three-
 7   year period from the grant date.
 8         50.    The Company announced Defendant Senderowicz’s appointment in an
 9   August 13, 2015 Form 8-K filed with the SEC and signed by Defendant Auerbach
10   (amended to add information on September 9, 2015). In that filing, the Company stated
11   the following about Defendant Senderowicz:
                  Dr. Senderowicz served as the Chief Medical Officer and
12                Senior Vice President, Clinical Development and Regulatory
13                Affairs from August 2014 to February 2015, and Clinical and
                  Regulatory Strategy Officer from February 2015 to April
14
                  2015 of Ignyta, Inc., a public precision oncology
15                biotechnology company. Prior to joining Ignyta,
                  Dr. Senderowicz was Vice President, Global Regulatory
16
                  Oncology at Sanofi, a position he held from September 2013
17                to August 2014. Prior to Sanofi, Dr. Senderowicz was Chief
                  Medical Officer and Vice President, Medical Development at
18
                  Tokai Pharmaceuticals, Inc. from August 2012 to March
19                2013. From August 2008 to March 2012, Dr. Senderowicz
                  held positions of increasing responsibility, including Senior
20
                  Medical Director, Oncology Clinical Development, at
21                AstraZeneca. Before his tenure at AstraZeneca,
                  Dr. Senderowicz spent almost four years in a variety of
22
                  leadership positions at the U.S. Food and Drug
23                Administration Division of Oncology Drug Products in the
                  Center for Drug Evaluation and Research. Prior to his work
24
                  with the FDA, Dr. Senderowicz held a variety of clinical and
25                research positions, including Coordinator of the Prostate
                  Cancer Drug Development Clinic and Investigator and Chief,
26
                  Molecular Therapeutics Unit, with the National Cancer
27                Institute/National Institutes of Health. Dr. Senderowicz holds
                  both an M.D. and an Instructor of Pharmacology degree from
28
                                                 15
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 1                the School of Medicine at the Universidad de Buenos Aires
 2                in Argentina. Dr. Senderowicz was selected as a director
                  because of his extensive clinical and regulatory background
 3                and his significant experience in the life sciences industry.
 4
           51.    Defendant Senderowicz is a citizen of Massachusetts.
 5            FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
 6         52.    By reason of their positions as officers, directors, and/or fiduciaries of
 7   Puma and because of their ability to control the business and corporate affairs of Puma,
 8   the Individual Defendants owed Puma and its shareholders fiduciary obligations of
 9   trust, loyalty, good faith, and due care, and were and are required to use their utmost
10   ability to control and manage Puma in a fair, just, honest, and equitable manner. The
11   Individual Defendants were and are required to act in furtherance of the best interests
12   of Puma and its shareholders so as to benefit all shareholders equally.
13         53.    Each director and officer of the Company owes to Puma and its

14   shareholders the fiduciary duty to exercise good faith and diligence in the administration

15
     of the Company and in the use and preservation of its property and assets and the highest
     obligations of fair dealing.
16
           54.    The Individual Defendants, because of their positions of control and
17
     authority as directors and/or officers of Puma, were able to and did, directly and/or
18
     indirectly, exercise control over the wrongful acts complained of herein.
19
           55.    To discharge their duties, the officers and directors of Puma were required
20
     to exercise reasonable and prudent supervision over the management, policies, controls,
21
     and operations of the Company.
22
           56.    Each Individual Defendant, by virtue of his or her position as a director
23   and/or officer, owed to the Company and to its shareholders the highest fiduciary duties
24   of loyalty, good faith, and the exercise of due care and diligence in the management and
25   administration of the affairs of the Company, as well as in the use and preservation of
26   its property and assets. The conduct of the Individual Defendants complained of herein
27   involves a knowing and culpable violation of their obligations as directors and officers
28   of Puma, the absence of good faith on their part, or a reckless disregard for their duties
                                                  16
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 1
     to the Company and its shareholders that the Individual Defendants were aware or
 2
     should have been aware posed a risk of serious injury to the Company. The conduct of
 3
     the Individual Defendants who were also officers and directors of the Company has
 4   been ratified by the remaining Individual Defendants who collectively comprised
 5   Puma’s Board at all relevant times.
 6         57.    As senior executive officers and directors of a publicly-traded company
 7   whose common stock was registered with the SEC pursuant to the Securities Exchange
 8   Act of 1934 (“Exchange Act”) and traded on the NYSE, the Individual Defendants had
 9   a duty to prevent and not to effect the dissemination of inaccurate and untruthful
10   information with respect to the Company’s financial condition, performance, growth,
11   operations, financial statements, business, products, management, earnings, internal
12   controls, and present and future business prospects, including the dissemination of false

13
     information regarding neratinib’s success and progress, and had a duty to cause the
     Company to disclose omissions of material fact in its regulatory filings with the SEC
14
     and communications with shareholders, so that the market price of the Company’s
15
     common stock would be based upon truthful and accurate information. Additionally,
16
     they had a duty not to cause the Company to waste corporate assets by selling stock at
17
     artificially inflated prices and using the badly needed proceeds for salary raises for
18
     themselves, to the detriment of the Company and its shareholders.
19
           58.    To discharge their duties, the officers and directors of Puma were required
20
     to exercise reasonable and prudent supervision over the management, policies,
21
     practices, and internal controls of the Company. By virtue of such duties, the officers
22   and directors of Puma were required to, among other things:
23         (a)    ensure that the Company was operated in a diligent, honest, and prudent
24   manner in accordance with the laws and regulations of Delaware, California, the
25   United States, the markets in which the Company operates, and pursuant to Puma’s
26   own Code of Business Conduct and Ethics and internal guidelines;
27         (b)    conduct the affairs of the Company in an efficient, business-like manner
28   so as to make it possible to provide the highest quality performance of its business, to
                                                 17
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 1
     avoid wasting the Company’s assets, and to maximize the value of the Company’s
 2
     stock;
 3
              (c)   remain informed as to how Puma conducted its operations, and, upon
 4   receipt of notice or information of imprudent or unsound conditions or practices, to
 5   make reasonable inquiry in connection therewith, and to take steps to correct such
 6   conditions or practices;
 7            (d)   establish and maintain systematic and accurate records and reports of the
 8   business and internal affairs of Puma and procedures for the reporting of the business
 9   and internal affairs to the Board and to periodically investigate, or cause independent
10   investigation to be made of, said reports and records;
11            (e)   maintain and implement an adequate and functioning system of internal
12   legal, financial, and management controls, such that Puma’s operations would comply

13
     with all applicable laws and Puma’s financial statements and regulatory filings filed
     with the SEC and disseminated to the public and the Company’s shareholders would
14
     be accurate;
15
              (f)   exercise reasonable control and supervision over the public statements
16
     made by the Company’s officers and employees and any other reports or information
17
     that the Company was required by law to disseminate;
18
              (g)   refrain from unduly benefiting themselves and other Company insiders at
19
     the expense of the Company; and
20
              (h)   examine and evaluate any reports of examinations, audits, or other
21
     financial information concerning the financial affairs of the Company and to make full
22   and accurate disclosure of all material facts concerning, inter alia, each of the subjects
23   and duties set forth above.
24            59.   Each of the Individual Defendants further owed to Puma and the
25   shareholders the duty of loyalty requiring that each favor Puma’s interest and that of its
26   shareholders over their own while conducting the affairs of the Company and refrain
27   from using their position, influence or knowledge of the affairs of the Company to gain
28   personal advantage.
                                                   18
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 1
           60.    At all times relevant hereto, the Individual Defendants were the agents of
 2
     each other and of Puma and were at all times acting within the course and scope of such
 3
     agency.
 4         61.    Because of their advisory, executive, managerial, and directorial positions
 5   with Puma, each of the Individual Defendants had access to adverse, non-public
 6   information about the Company.
 7         62.    The Individual Defendants, because of their positions of control and
 8   authority, were able to and did, directly or indirectly, exercise control over the wrongful
 9   acts complained of herein, as well as the contents of the various public statements issued
10   by Puma.
11      CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
12         63.    In committing the wrongful acts alleged herein, the Individual Defendants

13
     have pursued, or joined in the pursuit of, a common course of conduct, and have acted
     in concert with and conspired with one another in furtherance of their wrongdoing. The
14
     Individual Defendants caused the Company to conceal the true facts as alleged herein.
15
     The Individual Defendants further aided and abetted and/or assisted each other in
16
     breaching their respective duties.
17
           64.    The purpose and effect of the conspiracy, common enterprise, and/or
18
     common course of conduct was, among other things, to: (i) facilitate and disguise the
19
     Individual Defendants’ violations of law, including breaches of fiduciary duty and
20
     unjust enrichment; (ii) to conceal adverse information concerning the Company’s
21
     operations, financial condition, legal compliance, future business prospects and internal
22   controls; and (iii) to artificially inflate the Company’s stock price while the Individual
23   Defendants received lucrative salaries, bonuses, fees, and stock.
24         65.    The Individual Defendants accomplished their conspiracy, common
25   enterprise, and/or common course of conduct by causing the Company purposefully,
26   recklessly, or negligently to conceal material facts, fail to correct such
27   misrepresentations, and violate applicable laws. Because the actions described herein
28   occurred under the authority of the Board, each of the Individual Defendants who are
                                                  19
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 1
     directors of Puma was a direct, necessary, and substantial participant in the conspiracy,
 2
     common enterprise, and/or common course of conduct complained of herein.
 3
             66.   Each of the Individual Defendants aided and abetted and rendered
 4   substantial assistance in the wrongs complained of herein. In taking such actions to
 5   substantially assist the commission of the wrongdoing complained of herein, each of
 6   the Individual Defendants acted with actual or constructive knowledge of the primary
 7   wrongdoing, substantially assisted the accomplishment of that wrongdoing, and was or
 8   should have been aware of his or her overall contribution to and furtherance of the
 9   wrongdoing.
10           67.   At all times relevant hereto, each of the Individual Defendants was the
11   agent of each of the other Individual Defendants and of Puma, and was at all times
12   acting within the course and scope of such agency.

13
                                          Code of Ethics
             68.   The Company’s Code of Business Conduct and Ethics (the “Code of
14
     Ethics”) governs the conduct of all of the Company’s officers, directors, and employees
15
     and instructs their compliance with “the highest standards of business ethics,” outlined
16
     in the Code of Ethics.
17
             69.   The Code of Ethics provides, as to “Reporting Violations of the Code,”
18
     that:
19                 All employees and directors have a duty to report any known
20                 or suspected violation of this Code, including violations of the
                   laws, rules, regulations or policies that apply to the Company.
21                 If you know of or suspect a violation of this Code,
22                 immediately report the conduct to your supervisor or the
                   Company’s SVP, Finance. The Company’s SVP, Finance,
23                 will work with you and your supervisor or other appropriate
24                 persons to investigate your concern. If you do not feel
                   comfortable reporting the conduct to your supervisor or you
25                 do not get a satisfactory response, you may contact the
26                 Company’s SVP, Finance directly. You may also report
                   known or suspected violations of the Code on the Ethics
27                 Helpline that is available 24 hours a day, 7 days a week at 1-
28                 866-982-7272. You may remain anonymous and will not be
                                                  20
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 1              required to reveal your identity in calls to the Ethics Helpline,
 2              although providing your identity may assist the Company in
                investigating your concern. All reports of known or suspected
 3              violations of the law or this Code will be handled sensitively
 4              and with discretion. Your supervisor, a principal financial
                officer and the Company will protect your confidentiality to
 5              the extent possible, consistent with applicable laws and the
 6              Company’s need to investigate your concern.
 7              It is Company policy that any employee or director who
                violates this Code will be subject to appropriate discipline,
 8
                which may include termination of employment or removal
 9              from the Company’s board of directors (the “Board”), as
                appropriate. This determination will be based upon the facts
10
                and circumstances of each particular situation. If you are
11              accused of violating this Code, you will be given an
                opportunity to present your version of the events at issue prior
12
                to any determination of appropriate discipline. Employees
13              who violate the law or this Code may expose themselves to
14
                substantial civil damages, criminal fines and prison terms.
                The Company may also face substantial fines and penalties
15              and may incur damage to its reputation and standing in the
16
                community. Your conduct as a representative of the
                Company, if it does not comply with the law or with this
17              Code, can result in serious consequences for both you and the
18
                Company.

19        70.   The Code of Ethics provides, as to “Corporate Opportunities,” that:
20
                As an employee or director of the Company, you have an
21              obligation to advance the Company’s interests when the
                opportunity to do so arises. If you discover or are presented
22
                with a business opportunity through the use of corporate
23              property or information or because of your position with the
                Company, you should first present the business opportunity
24
                to the Company before pursuing the opportunity in your
25              individual capacity. No employee may use corporate
                property, information or his or her position with the Company
26
                for personal gain or should compete with the Company while
27              employed by us.
28
                                               21
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 1              You should disclose to your supervisor the terms and
 2              conditions of each business opportunity covered by this Code
                that you wish to pursue. Your supervisor will contact the
 3              Company’s SVP, Finance and the appropriate management
 4              personnel to determine whether the Company wishes to
                pursue the business opportunity. If the Company waives its
 5              right to pursue the business opportunity, you may pursue the
 6              business opportunity on the same terms and conditions as
                originally proposed and consistent with the other ethical
 7              guidelines set forth in this Code.
 8
          71.   The Code of Ethics provides, as to “Competition and Fair Dealing,” that:
 9
                All employees should endeavor to deal fairly with fellow
10
                employees and with the Company’s customers, suppliers and
11              competitors. Employees should not take unfair advantage of
                anyone through manipulation, concealment, abuse of
12
                privileged information, misrepresentation of material facts or
13              any other unfair-dealing practice.
14              Relationships with Customers
15
                The Company is committed to dealing with customers fairly,
16              honestly and with integrity. Specifically, you should keep the
17
                following guidelines in mind when dealing with customers:

18              • Information we supply to customers should be accurate,
                complete to the best of our knowledge, and comply with
19              applicable regulatory requirements. Employees should not
20              deliberately misrepresent information to customers.
21              • Customer entertainment should not exceed reasonable and
22              customary business practice. Employees should not provide
                entertainment and other benefits that could be viewed as an
23              inducement to or a reward for customer purchase decisions.
24              Please see “Gifts and Entertainment” below for additional
                guidelines in this area.
25
                • Any information we receive from customers regarding
26
                patient health care should be kept confidential and protected
27              from unauthorized access or disclosure.
28
                                               22
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 1              Relationships with Suppliers
 2
                The Company deals fairly and honestly with its suppliers.
 3              This means that our relationships with suppliers are based on
                price, quality, service and reputation, among other factors.
 4
                Employees dealing with suppliers should carefully guard their
 5              objectivity. Specifically, no employee should accept or solicit
                any personal benefit from a supplier or potential supplier that
 6
                might compromise, or appear to compromise, his or her
 7              objective assessment of the supplier’s products and prices.
                Employees can give or accept promotional items of nominal
 8
                value or moderately scaled entertainment within the limits of
 9              responsible and customary business practice. Please see
                “Gifts and Entertainment” below for additional guidelines in
10
                this area.
11
                Relationships with Competitors
12
                The Company is committed to free and open competition in
13
                the marketplace. Employees should avoid actions that would
14              be contrary to laws governing competitive practices in the
15
                marketplace, including federal and state antitrust laws. Such
                actions include misappropriation and/or misuse of a
16              competitor’s confidential information or making false
17
                statements about the competitor’s business and business
                practices. For further discussion of appropriate and
18              inappropriate business conduct with competitors, see
19
                “Compliance with Antitrust Laws” below.

20        72.   The Code of Ethics provides, as to “Company Records,” that:
21
                Accurate and reliable records are crucial to our business. Our
22              records are the basis of our earnings statements, financial
                reports, regulatory submissions and many other aspects of our
23
                business and guide our business decision-making and
24              strategic planning. Company records include financial
                records, personnel records, records relating to our product
25
                development, clinical development, manufacturing and
26              regulatory submissions and all other records maintained in the
                ordinary course of our business.
27

28              All Company records must be complete, accurate and reliable
                                               23
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 1                in all material respects. The Company has a formal document
 2                retention policy that each employee and director must follow
                  with respect to Company records within such employee’s or
 3                director’s control. Please contact your supervisor or the
 4                Company’s SVP, Finance to obtain a copy of this policy or
                  with any questions concerning the policy.
 5

 6         73.    The Code of Ethics provides, as to “Protection and Use of Company
 7   Assets,” that:
                  Employees should protect the Company’s assets and ensure
 8                their efficient use for legitimate business purposes only.
 9                Theft, carelessness and waste have a direct impact on the
                  Company’s profitability. The use of Company funds or assets,
10                whether or not for personal gain, for any unlawful or improper
11                purpose is prohibited.
12                To ensure the protection and proper use of the Company’s
13                assets, each employee should:

14                • Exercise reasonable care to prevent theft, damage or misuse
                  of Company property;
15

16                • Report the actual or suspected theft, damage or misuse of
                  Company property to a supervisor;
17
                  • Use the Company’s telephone system, other electronic
18
                  communication services, written materials and other property
19                primarily for business-related purposes;
20                • Safeguard all electronic programs, data, communications
21                and written materials from inadvertent access by others; and

22                • Use Company property only for legitimate business
                  purposes, as authorized in connection with your job
23
                  responsibilities.
24
                  Employees should be aware that Company property includes
25                all data and communications transmitted or received to or by,
26                or contained in, the Company’s electronic or telephonic
                  systems. Company property also includes all written
27                communications. Employees and other users of this property
28                should have no expectation of privacy with respect to these
                                                 24
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 1                communications and data. To the extent permitted by law, the
 2                Company has the ability, and reserves the right, to monitor all
                  electronic and telephonic communication. These
 3                communications may also be subject to disclosure to law
 4                enforcement or government officials.

 5         74.    The Code of Ethics provides, as to “Accuracy of Financial Reports and
 6   Other Public Communications,” that:
                 As a public company we are subject to various securities laws,
 7
                 regulations and reporting obligations. Both federal law and
 8               our policies require the disclosure of accurate and complete
                 information regarding the Company’s business, financial
 9
                 condition and results of operations. Inaccurate, incomplete or
10               untimely reporting will not be tolerated and can severely
                 damage the Company and result in legal liability.
11

12                The Company’s principal financial officers and other
                  employees working in the Company’s finance department
13                have a special responsibility to ensure that all of our financial
14                disclosures are full, fair, accurate, timely and understandable.
                  These employees must understand and strictly comply with
15                generally accepted accounting principles and all standards,
16                laws and regulations for accounting and financial reporting of
                  transactions, estimates and forecasts.
17
           75.    The Code of Ethics provides, as to “Compliance with Laws and
18
     Regulations,” that:
19
                 Each employee and director has an obligation to comply with
20               all laws, rules and regulations applicable to the Company’s
                 operations. These include, without limitation, laws covering
21
                 bribery and kickbacks, the development, testing, approval,
22               manufacture, marketing and sale of our products and product
                 candidates, copyrights, trademarks and trade secrets,
23
                 information privacy, insider trading, illegal political
24               contributions, antitrust prohibitions, foreign corrupt practices,
25
                 offering or receiving gratuities, environmental hazards,
                 employment discrimination or harassment, occupational
26               health and safety, false or misleading financial information or
27
                 misuse of corporate assets. You are expected to understand
                 and comply with all laws, rules and regulations that apply to
28               your job position. If any doubt exists about whether a course
                                                 25
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 1                 of action is lawful, you should seek advice from your
 2                 supervisor or the Company’s SVP, Finance.

 3           76.   The Code of Ethics provides, as to “Interactions with the Government,”
 4   that:
                   The Company may conduct business with the federal, state
 5
                   and local governments and the governments of many other
 6                 countries. The Company is committed to conducting its
                   business with all governments and their representatives with
 7
                   the highest standards of business ethics and in compliance
 8                 with all applicable laws and regulations, including the special
                   requirements that apply to communications with
 9
                   governmental bodies that have regulatory authority over our
10                 products and operations, such as government contracts and
                   government transactions. In your interactions with the
11
                   government, you should:
12
                   • Be forthright and candid at all times. No employee or
13                 director should intentionally misstate or omit any material
14                 information from any written or oral communication with the
                   government.
15
                   • Ensure that all required written submissions are made to the
16
                   government and are timely, and that all written submissions,
17                 whether voluntary or required, satisfy applicable laws and
                   regulations.
18

19                 • You should not offer or exchange any gifts, gratuities or
                   favors with, or pay for meals, entertainment, travel or other
20                 similar expenses for, government employees.
21
                   If your job responsibilities include interacting with the
22                 government, you are expected to understand and comply with
23
                   the special laws, rules and regulations that apply to your job
                   position as well as with any applicable standard operating
24                 procedures that the Company has implemented. If any doubt
25
                   exists about whether a course of action is lawful, you should
                   seek advice immediately from your supervisor and the
26                 Company’s SVP, Finance.
27
                   Company employees with responsibilities in the areas
28                 governed by the FFDCA and the FDA are required to
                                                  26
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 1              understand and comply with these laws and regulations.
 2              These employees are expected to have a thorough
                understanding of the laws, regulations and other relevant
 3              standards applicable to their job positions, and to comply with
 4              those requirements. The Company has developed standard
                operating procedures and provides regular training to aid
 5              employees in understanding and complying with the
 6              requirements of the FFDCA and the FDA. If any doubt exists
                regarding whether your job position or a particular course of
 7              action is governed by these laws and regulations, you should
 8              seek advice immediately from your supervisor and the
                Company’s SVP, Finance.
 9
                In addition to the above, you must obtain approval from the
10
                Company’s SVP, Finance for any work activity that requires
11              communication with any member or employee of a legislative
                body or with any government official or employee. Work
12
                activities covered by this policy include meetings with
13              legislators or members of their staffs or with senior executive
14
                branch officials on behalf of the Company. Preparation,
                research and other background activities that are done in
15              support of lobbying communication are also covered by this
16
                policy even if the communication ultimately is not made. If
                any doubt exists about whether a given work activity would
17              be considered covered by this provision, you should seek
18
                advice immediately from your supervisor and the Company’s
                SVP, Finance.
19
          77.   The Code of Ethics provides, as to “Public Communications and
20
     Regulation FD,” that:
21               Public Communications Generally
22
                The Company places a high value on its credibility and
23              reputation in the community. What is written or said about the
24
                Company in the news media and investment community
                directly impacts our reputation, positively or negatively. Our
25              policy is to provide timely, accurate and complete
26              information in response to public requests (media, analysts,
                etc.), consistent with our obligations to maintain the
27              confidentiality of competitive and proprietary information
28              and to prevent selective disclosure of market-sensitive
                                               27
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 1                financial data. To ensure compliance with this policy, all
 2                news media or other public requests for information regarding
                  the Company should be directed to the Company’s SVP,
 3                Finance or Senior Director, Investor Relations. In addition,
 4                you are required to read carefully and comply with our Media
                  Relations Policies and Procedures, as amended from time to
 5                time. Please inform your supervisor or the SVP, Finance if
 6                you do not have a copy of our Media Relations Policies and
                  Procedures.
 7
                  Compliance with Regulation FD
 8

 9                In connection with its public communications, the Company
                  is required to comply with a rule under the federal securities
10                laws referred to as Regulation FD (which stands for “fair
11                disclosure”). Regulation FD provides that, when we disclose
                  material, non-public information about the Company to
12                securities market professionals or stockholders (where it is
13                reasonably foreseeable that the stockholders will trade on the
                  information), we must also disclose the information to the
14                public. “Securities market professionals” generally include
15                analysts, institutional investors and other investment
                  advisors. You are required to read carefully and comply with
16                our Policy Statement –Guidelines for Corporate Disclosure,
17                as amended from time to time. Please inform your supervisor
                  or the SVP, Finance if you do not have a copy of our Policy
18                Statement – Guidelines for Corporate Disclosure.
19
           78.    In violation of the Code of Ethics, the Individual Defendants (as key
20
     officers and as members of the Company’s Board) conducted little, if any, oversight of
21
     the Company’s internal controls over public reporting and of the Individual Defendants’
22   schemes and caused or facilitated the schemes to issue materially false and misleading
23   statements to the public, and facilitate and disguise the Individual Defendants’
24   violations of law, including breaches of fiduciary duty and unjust enrichment. In
25   violation of the Code of Ethics, the Individual Defendants consciously disregarded their
26   duties to (1) comply with the applicable laws and regulations, (2) protect corporate
27   assets, (3) act in the Company’s best interests, (4) report violations of the Code of
28   Ethics, (5) appropriately maintain the Company’s books, records, accounts, and
                                                 28
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 1
     financial statements, (6) disseminate accurate and complete information to
 2
     shareholders, the public, and government agencies, (7) engage in fair competition, and
 3
     (8) make accurate filings with the SEC.
 4                            PUMA’S CORPORATE GOVERNANCE
 5         79.    The Company’s Corporate Governance Guidelines (the “Corporate
 6   Guidelines”) that is available on its website, www.pumabiotechnology.com, is not up
 7   to date as of the filing of this Complaint and states, “The Board currently has four (4)
 8   members.” The Company, however, increased the size of its Board from four (4) to
 9   five (5) directors on August 11, 2015. This was announced in a Form 8-K filed with
10   the SEC on the evening of August 13, 2015 and signed by Defendant Auerbach. The
11   lack of review associated with this outdated information is reflective of the kind of
12   oversight that permeates the Company’s Board and underscores the culpability of the

13
     Individual Defendants in the misconduct alleged herein.
           80.    Pursuant to the Corporate Guidelines, the entire Board is subject to the
14
     corporate governance practices contained therein.
15
           81.    The Corporate Guidelines provides, as to “The Mission of the Board of
16
     Directors,” that:
17
                  The Board of Directors (the “Board”) of Puma
18                Biotechnology, Inc. (the “Company”) believes that its
                  primary responsibility is to provide effective governance over
19
                  the Company’s affairs for the benefit of stockholders. The
20                Board and its committees are responsible for determining that
                  the Company is managed in such a way as to ensure this
21
                  result. This is an active, not a passive, responsibility. The
22                Board has the responsibility to ensure that in good times, as
                  well as difficult ones, management is capably executing its
23
                  responsibilities, and has adopted the following guidelines to
24                assist it in the exercise of its responsibility. These guidelines
                  are reviewed periodically and revised as appropriate to
25
                  reflect the dynamic and evolving processes relating to the
26                operation of the Board. These Corporate Governance
                  Guidelines (these “Guidelines”) are intended as a component
27
                  of the flexible framework within which the Board, assisted by
28                its committees, directs the affairs of the Company. They are
                                                  29
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 1                 not intended to establish by their own force any legally
 2                 binding obligations.

 3           82.   The Corporate Guidelines provides, as to “Size of the Board,” that: The
 4   Board currently has four (4) members. The Board believes that four members is an
 5   appropriate number based on the Company’s present circumstances, but the Board will
 6   periodically evaluate in the future whether a larger slate of directors would be

 7
     preferable.
             83.   The Corporate Guidelines provides, as to “Membership on Other Boards,”
 8
     that:
 9
                   A director of the Board may serve as a director of another
10                 company only to the extent such position does not conflict or
11
                   interfere with such person’s service as a director of the
                   Company. A director of the Board may not serve as a director
12                 of more than three publicly-held companies without the
13
                   Board’s consent.

14           84.   The Corporate Guidelines provides, as to “Director Responsibility,” that:
15                 The Board, as a whole, has the responsibility to ensure that
16                 in good times, as well as difficult ones, management is
                   capably executing its responsibilities. In order for the Board
17                 to satisfy its responsibilities, each director, at a minimum, is
18                 expected to attend a significant majority of all Board
                   meetings and to carefully review all meeting materials in
19
                   advance of such meetings.
20
             85.   The Corporate Guidelines provides, as to “Board Access to Senior
21
     Management and Independent Advisors,” that:
22             Board members have complete access to the Company’s
23             management, subject to reasonable time constraints, in order
               to ensure that directors can ask any questions and receive all
24             information necessary to perform their duties. It is assumed
25             that Board members will use judgment to be sure that this
               contact is not detracting from the business operations of the
26             Company, and that such contact, if in writing, be copied to the
27             Chief Executive Officer. Furthermore, the Board encourages
               the management to bring, from time to time, managers into
28
                                                  30
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 1                Board meetings who: (a) can provide additional insight into
 2                the items being discussed because of personal involvement in
                  these areas, and/or (b) are managers with future potential that
 3                the senior management believes should be given exposure to
 4                the Board. Board members also shall have complete
                  access (financial and otherwise), as necessary and
 5                appropriate, to independent advisors, but shall act as prudent
 6                purchasers of such services.
 7         86.    The Corporate Guidelines provides, as to “Formal Evaluation of the
 8   Chairman and the Chief Executive Officer,” that:
 9                The Chairman and Chief Executive Officer will be expected
                  to report annually to the independent directors of the Board
10                on his or her goals and objectives for the ensuing year, and
11                also to report annually on the level of achievement of the
                  preceding year’s goals and objectives. All Board members
12
                  shall be invited to these particular meetings, and shall have
13                the opportunity to participate in any appropriate follow-up
                  meetings or discussions. The Compensation Committee shall
14
                  participate in the evaluation of the Chief Executive Officer
15                and Chairman. The evaluation should be based on objective
                  and subjective criteria including performance of the business,
16
                  accomplishment of long- term strategic objectives and
17                development of management. The evaluation will be used
                  as a factor by the Compensation Committee when
18
                  considering the compensation of the Chairman and the Chief
19                Executive Officer.
20         87.    In violation of the Corporate Guidelines, the Individual Defendants who
21   are members of the Board conducted little, if any, oversight of the Company’s internal
22   controls over public reporting and of the Company’s engagement in the Individual
23   Defendants’ schemes to issue materially false and misleading statements to the public,
24   and facilitate and disguise the Individual Defendants’ violations of law, including
25   breaches of fiduciary duty and unjust enrichment. In violation of the Corporate
26   Guidelines, the Individual Defendants who are members of the Board consciously

27
     disregarded their duties of loyalty, ethics, to act in the best interests of the Company,

28
                                                 31
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 1
     and to use their free access to management to obtain all information necessary to fulfill
 2
     their duties.
 3
                         INDIVIDUAL DEFENDANTS’ MISCONDUCT
 4          Puma’s Bread and Butter, Neratinib
 5          88.      Prior to the truth about the Company’s misconduct emerging, Puma had
 6   not commercialized any product and thus, had zero revenue. During the same period
 7   the Company only had one drug product candidate that it was actively developing,
 8   neratinib, which it licensed from Pfizer in 2011. The license agreement with Pfizer for
 9   neratinib established a limit for the Company’s expenses related to the licensor-initiated
10   clinical trials for neratinib that were ongoing at the time of the agreement and which are
11   referred to as the legacy clinical trials. The license agreement was amended in July
12   2014 whereby the Company became solely responsible for the costs incurred or accrued

13
     in conducting the legacy clinical trials after December 31, 2013. The license
     amendment also adjusted the future royalty rate from a tiered royalty rate structure
14
     ranging between 10 to 20 percent to a “fixed rate in the low- to mid- teens.”
15
            89.      Neratinib is reported by the Company to be a potent irreversible tyrosine
16
     kinase inhibitor, or TKI, that blocks signal transduction through the epidermal growth
17
     factor receptors, HER1, HER2 and HER4.
18
            90.      Breast cancer is the second leading cause of cancer deaths among women.
19
     Between 20% and 25% of breast cancer tumors show “over-expression” of the HER2
20
     protein. Women with these tumors are at a greater risk for disease progression and
21
     death than women whose tumors do not over-express HER2. Most patients with HER2-
22   positive breast cancer develop resistance to the drugs currently approved by the FDA –
23   e.g., trastuzumab (Herceptin), pertuzumab and T-DM1 – thereby limiting treatment
24   options. As a result, there is a recognized need for alternative treatments to block HER2
25   signaling pathways.
26          91.      According to the Company’s 2014 Form 10-K (defined below), neratinib
27   at that time had a large potential market with approximately 36,000 patients in the
28   United States and 34,000 patients in the European Union diagnosed with HER2-positive
                                                   32
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 1
     breast cancer per year. Given the size of the potential market and the drug’s potential
 2
     to replace FDA approved drugs on the market when a resistance develops, neratinib was
 3
     expected to be a blockbuster drug if it could demonstrate a meaningful clinical benefit
 4   and ultimately be approved for use and marketing. Defendant Auerbach, in a January
 5   12, 2015 conference call with JP Morgan Chase analysts, touted that “neratinib will
 6   basically have the extended adjuvant setting all to itself with no competitive threats”
 7   and “[c]urrently Herceptin in year one of the adjuvant setting does approximately $4.3
 8   billion, and all of those patients would be eligible for neratinib in year two.” As
 9   Bloomberg reported, at the prices Puma intended to charge, neratinib could reap $2.5
10   billion in annual sales by 2020. The investment banking firm Cowen and Company
11   also estimated that neratinib could generate total global sales for Puma of up to $6.0
12   billion by 2028.

13
           Vital Parameters for Assessing Efficacy
           92.    Disease Free Survival Rate: From a clinical standpoint, one of the most
14
     important questions a physician must answer for a patient diagnosed with cancer is,
15
     what is the chance of surivival? Thus, to determine a drug’s clinical efficacy, survival
16
     statistics are essential. Disease free survival (“DFS”) is defined as the length of time
17
     after primary treatment for a cancer ends that the patient survives without recurrence or
18
     relapse, second cancer, or death. A key metric in evaluating DFS rates across studies
19
     is the absolute benefit or absolute difference between the treatment arm and placebo
20
     arm in each study – the difference between the DFS rates for those on the drug and those
21
     on placebo. In the relevant context, an absolute improvement in DFS of approximately
22   4% has the potential to be practice-changing.
23         93.    To further improve its chances for FDA approval and to improve its
24   reputation in the market, Puma needed to demonstrate that the DFS rate for the patients
25   in the neratinib group was several points higher than the DFS rate for patients in the
26   placebo group.
27         94.    Kaplan-Meier Curves: The “Kaplan-Meier estimate is one of the best
28   options to be used to measure the fraction of subjects living for a certain amount of time
                                                 33
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 1
     after treatment. . . [and it] is the simplest way of computing . . . survival over time.” 1 In
 2
     order to graph Kaplan-Meier curves, like for the DFS rate, it is necessary to have the
 3
     study data concerning the number of patients in the treatment arm and the placebo arm
 4   that have and have not relapsed over pre-defined time intervals. As the difference in
 5   DFS between the treatment and placebo arms (referred to as the “absolute difference”)
 6   becomes larger over consecutive measurement periods, the Kaplan-Meier curve widens
 7   or increases. If the opposite occurs, the Kaplan-Meier curve narrows or decreases.
 8   Thus, generally, an increasingly efficacious drug product will produce a widening
 9   Kaplan-Meier curve, whereas a non-efficacious drug will produce a flat or narrowing
10   Kaplan-Meier curve.
11         Important Clinical Trials Relating to HER2-positive Breast Cancer
12         95.    Herceptin is approved by the FDA for the treatment of HER2-positive

13
     breast cancer. The primary trial that determined one year of Herceptin improved
     outcomes compared to no Herceptin is the Herceptin® Adjuvant (HERA) trial. This
14
     trial showed a statistically significant improvement of DFS and overall survival. DFS
15
     at 3 years was 85·7% vs. 79·4% in the placebo group (p<0·0001).
16
           96.    Puma’s ExteNET trial (“ExteNET”) was a discontinued Pfizer legacy trial
17
     whose enrollment was halted at approximately 2,800 patients in October 2011.
18
     ExteNET’s results, however, were touted once they were released in 2014. ExteNET
19
     was a double-blind, placebo-controlled, Phase III trial of neratinib versus placebo after
20
     adjuvant treatment with Herceptin in women with early stage HER2-positive breast
21
     cancer. More specifically, the ExteNET trial enrolled 2,840 patients in 41 countries
22   with early stage HER2-positive breast cancer who had undergone surgery and adjuvant
23   treatment with trastuzumab. After completion of adjuvant treatment with trastuzumab,
24

25

26
     1
      Goel et al., “Understanding survival analysis: Kaplan-Meier estimate,” Int J
     Ayurveda Res. 2010 Oct-Dec; 1(4): 274–278,
27   http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3059453/ (last accessed April 10,
28   2016).
                                                  34
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 1
     patients were randomized to receive extended adjuvant treatment with either neratinib
 2
     or placebo for a period of one year. Patients were then followed for recurrent disease,
 3
     ductal carcinoma in situ (DCIS), or death for a period of two years after randomization
 4   in the trial.
 5          97.      As an inclusion criteria for ExteNET, patients needed to have tumors that
 6   were HER2 positive using local assessment. In addition, as a pre-defined subgroup in
 7   the trial, patients had centralized HER2 testing performed on their tumor as well. The
 8   primary endpoint of the trial, according to the 2014 10-K (defined below), was disease
 9   free survival (DFS).2 The secondary endpoint of the trial was disease-free survival
10   including ductal carcinoma in situ (DFS-DCIS).
11          Adverse Events: Grade 3 or 4 Diarrhea
12          98.      The analysis of safety in clinical trial is generally performed by reporting

13
     and tracking incidences of adverse events of interest.            An adverse event is any
     unfavorable change in health that occurs in trial participants during the clinical trial or
14
     within a specified period following the clinical trial.          Such events are generally
15
     characterized as “other adverse events” or as “serious adverse events.” Diarrhea
16
     adverse events are measured on a scale from grade 1—minor change in bowel
17
     movement—to grade 5—death. Grade 3 diarrhea is present when a patient suffers from
18
     an increase of greater than seven bowel movements a day over baseline and/or
19
     hospitalization as a result of diarrhea. Grade 4 diarrhea is present when a patient faces
20
     life-threatening consequences, which include extremely low blood pressure as a result
21
     of severe dehydration.
22

23

24

25
     2
26    Notably, after shareholder allegations relating to false and misleading statements of
     material fact were made against the Company, the Company shifted its description of
27   ExteNET, including changing the primary endpoint to “invasive disease free
28   survival.”
                                                    35
                                 Verified Shareholder Derivative Complaint
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 1
            99.   To further improve its chances for FDA approval and to improve its
 2
     reputation in the market, Puma needed to demonstrate that neratinib did not have severe
 3
     side effects seriously outweighing the benefits of taking it.
 4          February 2014 – Badly in Need of Cash, Puma Conducts a Public Offering
 5          100. On March 3, 2014, the Company filed its annual report for the fiscal year
 6   ended December 31, 2013 with the SEC, signed by Defendants Auerbach, Malley,
 7   Moyes, Wilson, (i.e., the entire Board at the time), and Defendant Eyler (the “2013 10-
 8   K”).
 9          101. Attached to the 2013 10-K were certifications pursuant to Rule 13a-14(a)
10   and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”)
11   signed by Defendants Auerbach and Eyler attesting to the accuracy of the 2013 10-K.
12          102. In the 2013 10-K, the Company reported an annual operating loss of $54.8

13
     million, loss per share of $1.90, and influx of only $2.2 million in cash through
     financing activities.
14
            103. The 2013 10-K explained that the Company expected heavy expenses
15
     moving forward, stating that:
16
                We have incurred negative cash flows from operations since
17              we started our business. We have spent, and expect to
                continue to spend, substantial amounts in connection with
18
                implementing our business strategy, including our planned
19              product development efforts, our clinical trials, and our R&D
                efforts. Given the current and desired pace of clinical
20
                development of our three product candidates, over the next 12
21              months we estimate that our R&D spending will be
                approximately $50 million to $60 million, excluding stock-
22
                based compensation. We will need approximately $7 million
23              to $8 million for general and administrative expenses over the
                next 12 months, excluding stock-based compensation. The
24
                actual amount of funds we will need to operate is subject to
25              many factors, some of which are beyond our control.
26
27

28
                                                 36
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 1
           104. The 2013 10-K also explained the Company’s position of not being able
 2
     to continue its business if adequate financing was not available. Specifically, the 2013
 3
     10-K stated:
 4                  If we do not succeed in timely raising additional funds on
 5                  acceptable terms, we may be unable to complete planned pre-
                    clinical and clinical trials or obtain approval of any drug
 6                  candidates from the FDA and other regulatory authorities. In
 7                  addition, we could be forced to discontinue product
                    development and forego attractive business opportunities.
 8
                    Any additional sources of financing will likely involve the
 9                  issuance of additional equity securities, which will have a
                    dilutive effect on our stockholders.
10

11         105. It was under these economic pressures that the Company initiated a public
12   offering of its common stock in February of 2014. According to the 2013 10-K, on
13   February 14, 2014, the Company completed a public offering, in which it sold
14   1,126,530 shares of its common stock and received net proceeds of approximately
15   $129.3 million after expenses.
           The Individual Defendants Had Access to, and Knowledge of, Material
16         Nonpublic Facts Regarding ExteNET Trial Results
17         106. Alvin Wong (“Wong”), the Company’s Senior Director of Clinical

18   Science, emailed Defendant Auerbach and Puma executives a document on July 17,

19
     2014 tiled “Neratinib Protocol 3144A2-3004-WW Top-Line Efficacy Analysis Part A
     (2 years + 28 days)” (the “Efficacy Analysis”). The Efficacy Analysis noted that: (a)
20
     the Kaplan-Meier curves were essentially flat with no trend of separation between the
21
     treatment and placebo arms from one year after randomization to two years after
22
     randomization and were narrowing at the end of the two-year period; and (b) the DFS
23
     rates for the primary endpoint in the ExteNet trial were 93.9% in the treatment arm and
24
     91.6% in the placebo arm for an absolute difference of 2.3%. Wong emailed Defendant
25
     Auerbach and other Company executives a PowerPoint presentation the next day on
26
     July 18, 2014 titled “3004 Executive Summary of Safety 18JUL2014” and ExteNET
27   top-line safety tables, which noted that: (a) the discontinuation rate for neratinib patients
28
                                                  37
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 1
     due to grade 3 or 4 diarrhea was 16.8% and the overall dropout rate for neratinib patients
 2
     due to adverse events was 27.6%; and (b) 39.9% of patients in the treatment arm
 3
     experienced grade 3 or 4 diarrhea.
 4         July 22, 2014 – The Scheme Begins
 5         107. The money raised by the Company in its February 2014 public offering
 6   was certainly not going to be enough moving forward and the Company knew it. In the
 7   first six months of 2014 alone, the Company spent almost $60 million on operations.
 8   To make matters worse for Puma, an amendment to the Company’s license agreement
 9   with Pfizer that was entered into in July 2014, made the Company solely responsible
10   for the costs incurred or accrued in conducting the legacy clinical trials after December
11   31, 2013, costing approximately $30 million, most of which was due in 2014.
12   Something had to be done to save the stock from crashing, and management had the

13
     solution: embellish the results of ExteNET, a “[d]iscontinued Pfizer Legacy Stud[y].”
           108. On July 22, 2014, the Company filed a Form 8-K with the SEC, signed by
14
     Defendant Auerbach, which attached a press release issued earlier that same day (the
15
     “7/22/14 Press Release”). The 7/22/14 Press Release was titled, “Puma Biotechnology
16
     Announces Positive Top-line Results from Phase III PB272 Trial in Adjuvant Breast
17
     Cancer (ExteNET Trial): Neratinib Achieves Statistically Significant Improvement in
18
     Disease Free Survival Company Plans to File for Regulatory Approval in First Half of
19
     2015.”
20
           109. The 7/22/14 Press Release represented that “[t]he results of [the ExteNET
21
     trial] demonstrated that treatment with neratinib resulted in a 33% improvement in
22   disease free survival versus placebo.”
23         110. Moreover, the 7/22/14 Press Release represented that the Company was
24   going to file a NDA with the FDA in the first half of 2015. The 7/22/14 Press Release
25   stated, “[b]ased on these results from the ExteNET study, Puma plans to file for
26   regulatory approval of neratinib in the extended adjuvant setting in the first half of
27   2015.”
28
                                                 38
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 1
           111. Defendant Auerbach was quoted in the 7/22/14 Press Release stating that
 2
     the Company was “pleased with the results of the ExteNET trial with neratinib,” and
 3
     that the trial showed unprecedented success that “provides a meaningful point of
 4   differentiation for neratinib in the treatment of HER2 positive breast cancer.”
 5         112. The 7/22/14 Press Release announced that a conference call would take
 6   place later that day to further discuss the announcements mentioned therein (the
 7   “7/22/14 Conference Call”).
 8         113. During the 7/22/14 Conference Call, Defendant Auerbach engaged in the
 9   following exchange with Yaron Werber, a Citi Research analyst, which touched upon
10   the DFS of the control arm and diarrhea and dropout rates in the ExteNET trial:
                 [WERBER:] Congrats on this fantastically and, in many
11
                 ways, unexpected data. So I have a ton of questions. Maybe
12               I’ll just take two, if you don’t mind. One is, give us a little bit
                 of a sense, what was the DFS on the control arm, first. And
13
                 then second, help us understand, what do you know about the
14               safety profile?
15                [AUERBACH:] Okay. So in terms of the DFS of the placebo
16                arm of the trial, it was in line with other reported trials. So it’s
                  inline with the Herceptin adjuvant studies. And then in terms
17                of the safety profile, we haven’t yet fully validated the safety
18                database. Our anticipation is the main AE we’re going to see
                  is what we’ve historically seen with neratinib, which is the
19                diarrhea. And again, we would anticipate that the diarrhea
20                rate, the grade 3 diarrhea rate, would be in line with the 29%
                  to 30% that’s been seen in the prior studies of neratinib as a
21                monotherapy.
22
                  ***
23
                  [WERBER:] You’re thinking that, if I’m correct, the DFS is
24                probably around mid to high 80s, around 86% or so in the
25                control arm?
26                [AUERBACH:] I would be comfortable with that number.
27                [WERBER:] And one would imagine you probably had to
28                show around 90% or 91% [in the treatment arm]? Is that
                                                  39
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 1               reasonable?
 2
                 [AUERBACH:] Yes. I think you can do a 33% improvement
 3               in DFS and come up with that calculation, given the numbers
                 we gave.
 4

 5         114. Thus, Defendant Auerbach represented that the DFS of the control arm (i.e.

 6
     placebo) was “in line” with the Herceptin Adjuvant Studies at roughly 86%. Given
     Defendant Auerbach’s response that a 33% improvement over 86% is the right
 7
     calculation, he represented that the treatment arm demonstrated a DFS of 90%-91%, or
 8
     in other words an absolute DFS benefit of approximately 5%.
 9
           115. During the 7/22/14 Conference Call, Defendant Auerbach also engaged in
10
     the following exchange with Leerink Partners analyst, Howard Liang, regarding the
11
     Kaplan-Meier curves for ExteNET:
12              [LIANG:] Congratulations, Alan, and your team. So can you
13              – I assume you have seen the curves for the two arms. Can
                you give us a sense as to whether the separation is widening
14              over time? Or how would you describe the curve separation?
15
                 [AUERBACH:] Yes, Thanks for that question, Howard.
16               Okay, so [ExteNET] started in April of 2009, and this data cut
                 is as of October 2013. So that’s essentially the last patient was
17
                 followed for 2 years. So from those numbers, you can see we
18               have a lot of patients who have been in for much more than
                 that 2-year cutoff. If we look at the curves going out beyond
19
                 that, it looks like the curves are continuing to separate.
20
                 And to give a little more detail on that, if you look at the
21               curves in the Herceptin adjuvant trials – so the HERA study,
22               the BCIRG study, et cetera – the absolute difference in
                 disease-free survival increases as you go out year over year.
23               So, for instance, in the BCIRG trial, the DFS difference was
24               6% at 2 years and 7% at 3 years, then 8% at 4 years . . . .
25               We’re seeing the same preliminary trend in the ExteNET trial,
26
                 where the curves appear to be continuing to separate as you
                 go out year over year, and the absolute DFS difference is
27               increasing year over year as well.
28
                                                  40
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 1
           116. During the 7/22/14 Conference Call, Defendant Auerbach also provided
 2
     the Company’s expectations for grade 3 diarrhea rates in the ExteNET trial and falsely
 3
     noted that the Company “has not yet seen the safety results from the ExteNET trial for
 4   neratinib,” stating, in relevant part:
 5                 [AUERBACH:] From a safety perspective, the Company has
                   not yet seen the safety results from the ExteNET trial for
 6
                   neratinib, as the data is still being validated.
 7
                  ***
 8

 9                Prior to Puma licensing the drug, neratinib monotherapy was
                  previously tested in two Phase II trials in patients with HER2-
10
                  positive metastatic breast cancer, the results of which were
11                published in European Journal of Cancer in December 2013
                  and the Journal of Clinical Oncology in 2010. In those studies,
12
                  grade 3 or higher diarrhea was seen in 29% and 30% of the
13                patients, respectively.
14
                  The ExteNET trial was started in April of 2009, prior to Puma
15                licensing the drug in 2011. Neratinib was given as a
                  monotherapy, and no prophylaxis to prevent neratinib-related
16
                  diarrhea was used. Therefore, the Company anticipates that
17                the grade 3 diarrhea rates in the ExteNET trial are likely to be
                  in line with what was previously published in the prior Phase
18
                  II trials that were published in the European Journal of Cancer
19                and the Journal of Clinical Oncology.
20         117. Defendant Auerbach also engaged in the following exchanges during the
21   7/22/14 Conference Call with Eric Schmidt of Cowen and Co. and Matt Roden of UBS
22   Securities, respectively, concerning diarrhea and dropout rates in the ExteNET trial:

23                [SCHMIDT:] Thanks. And lastly, I think you probably do
                  know the dropout rate from the trial. Could you remind us of
24                that?
25
                  [AUERBACH:] Dropout rates due to side effects?
26
27                [SCHMIDT:] Sure, or anything, if you have it.

28
                                                 41
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 1               [AUERBACH:] I don’t have that. I apologize. That’s part of
 2               the stuff being validated, but we anticipate, typically in the
                 neratinib studies – the legacy ones that were done before,
 3               when Pfizer was running it without any prophylaxis – it was
 4               usually in the 5% to 10% range was the dropout rate due to
                 AEs. So we’d anticipate it’s in that same vein.
 5

 6               ***
 7               [RODEN:] I just wanted to clarify an earlier answer to a
 8               question. So you were asked about the dropout rate, and I
                 think you wanted to defer to dropouts due to –
 9               discontinuations due to adverse events. But can you just
10               mention, or maybe I missed it, how many patients actually
                 completed the year of therapy? Or another way of saying it is
11               how much missing data is there from the DFS analysis?
12
                 [AUERBACH:] Yes, so in terms of patients who dropped out
13               due to AEs, like I said, historically with neratinib, that should
14               be somewhere in the 5% to 10% range.
15               [RODEN:] Okay, but do you have a sense for dropouts for
16               any reason across the study?
17               [AUERBACH:] No, the main one we would expect is due to
18               AEs. And obviously, if they progressed or died.
19         118. Following the 7/22/14 Conference Call, a pharmaceutical analyst at UBS

20
     Securities explained that “commentary on the call adds to our confidence: the DFS
     curves apparently widen over time, and neratinib appears active in all subgroups
21
     examined, suggesting broad utilization.”
22
           119. On this news, Puma’s stock price soared, increasing $174.37 per share by
23
     the close of the market on July 23, 2014, a single-day increase of over 295%.
24
           120. The Company’s representations garnered massive national media
25
     attention. On July 22, 2014, an article was published on the website, FierceBiotech:
26
     The Biotech Industry’s Daily Monitor, titled “Puma shares triple on positive PhIII
27

28
                                                42
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 1
     neratinib data, plans to file for approval.”3 The article drew a direct causal connection
 2
     between the stock price surge and the Company’s reported Phase III results.
 3
     Specifically, the article stated the following:
 4                Shares of Puma Biotechnology ($PBYI) soared more than
 5                220% after the markets closed on Tuesday as investors
                  cheered the biotech’s positive Phase III numbers for a late-
 6                stage study of their lead drug neratinib (PB272). . . . And the
 7                company says it will now start prepping for a regulatory filing
                  on the drug, now expected in the first half of 2015. . . .
 8

 9                Investigators for the biotech say they tracked a 33%
                  improvement over placebo in disease-free survival. . . .
10                Investors went crazy for the results, tripling the price of the
11                stock in a matter of minutes.

12         121. On July 23, 2014, while the stock was skyrocketing, host of CNBC’s Mad
13   Money, former hedge fund manager, and best-selling author Jim Cramer reflected on
14   the gravity and market reaction to the Company’s news.4 Specifically, Jim Cramer

15   stated the following:

16
                  It’s Puma Biotech, probably most people haven’t heard about
                  it, the stock was down very badly going into yesterday when
17                they revealed the results [of ExteNET], 33% disease free
18                survivors breast cancer, this is that early stage breast cancer,
                  H-E-R, HER2. This is a remarkable number. . . . So you’re
19                going to see the stock quadruple because this is a remarkable
20                number.”

21

22

23
     3
      John Carroll, “Puma shares triple on positive PhIII neratinib data, plans to file for
24   approval” (July 22, 2014), http://www.fiercebiotech.com/story/puma-shares-triple-
25   positive-phiii-neratinib-data-plans-file-approval/2014-07-22 (last accessed April 7,
     2016).
26
     4
      See Cramer’s Mad Dash: PBYI could quadruple,
27   seekingalpha.com/symbol/PBYI/videos/1839995 (July 23, 2014) (last accessed April
28   7, 2016).
                                                  43
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 1
           122. Also on July 23, 2014, an article was published on the popular financial
 2
     investment website, MarketWatch, titled “Puma Biotech’s blast-off is not a typical short
 3
     squeeze.” The article reported that the Company’s stock “soared $170.83, or 289%, to
 4   $229.86 in midday trading [on July 23, 2014] . . . . The blast-off follows the company’s
 5   announcement late Tuesday of positive results from a Phase 3 trial of its breast cancer
 6   treatment.”5
 7         August 11, 2014 – Second Quarter 2014 Results
 8         123. On August 11, 2014, the Company filed a quarterly report for the period
 9   ended June 30, 2014 on a Form 10-Q with the SEC (“2Q 2014 10-Q”), which was signed
10   by Defendants Auerbach and Eyler.
11         124. Attached to the 2Q 2014 10-Q were SOX certifications signed by
12   Defendants Auerbach and Eyler attesting to the accuracy of the 2Q 2014 10-Q.

13
           125. The 2Q 2014 10-Q, aside from revealing the dire financial condition of the
     Company before the July 22, 2014 misrepresentations, continued to lead investors to
14
     believe that the Company was going to file an NDA with the FDA in 2015. To that end,
15
     the Company repeatedly made statements relating to its preparations for a 2015 NDA
16
     filing and expected approval in the same year.
17
           126. For example, the Company represented in its 2Q 2014 10-Q, “We expect
18
     R&D expenses to continue to increase as we recognize the additional expenses
19
     associated with the legacy clinical trials and as we to (sic) hire additional R&D
20
     employees during the remainder of 2014 to support the filing of a New Drug
21
     Application, or NDA, with the FDA during 2015.”
22         127. Moreover, the Company, in its 2Q 2014 10-Q, represented that “we do not
23   expect to receive approval of a product candidate until approximately 2015.” This led
24

25

26
     5
      Tomi Kilgore, “Puma Biotech’s blast-off is not a typical short squeeze” (July 23,
27   2014), http://www.marketwatch.com/story/pumas-blast-off-is-not-a-typical-short-
28   squeeze-2014-07-23 (last accessed April 7, 2016).
                                                 44
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 1
     investors and the public to believe that the Company expected to receive approval of
 2
     their only actively developed drug product candidate, neratinib, in 2015.
 3          August 21, 2014 – Investors’ Impressions from Puma’s Data
            Representations
 4
            128. On August 21, 2014, an article published on Seeking Alpha, a platform for
 5
     investment research, with broad coverage of stocks, asset classes, ETFs and investment
 6   strategy whose website, seekingalpha.com, serves as an important resource to many in
 7   the financial industry and is relied on for its breaking news, stated “Bottom line: The
 8   results from the ExteNET trial, which announced a 33% improvement, is disease
 9   free survival, translate into a disease free survival of about 90% vs. about 85%
10   percent with herceptin alone.”6 (Emphasis in original).
          November 13, 2014 – Conference Call on Phase II Trial Reiterates
11        Misrepresentations
12        129. On November 13, 2014, the Company issued a press release announcing
13   results from a Phase II clinical trial of neratinib for the treatment of first-line HER2-
14   positive locally recurrent or metastatic breast cancer (NEfERTT trial) and scheduling a
15   conference call that was held later that same day to discuss the NEfERTT trial results.
16         130. During that conference call, Defendant Auerbach spoke about ExteNET
17   and reiterated that “[t]he primary endpoint of this trial was disease-free survival and

18
     neratinib demonstrated a 33% improvement in disease-free survival.”
           December 2, 2014 – Another Misleading Call with Investors
19
           131. On December 2, 2014, the Company filed a Form 8-K with the SEC, signed
20
     by Defendant Auerbach, which attached a press release issued earlier that same day (the
21
     “12/2/14 Press Release”). The 12/2/14 Press Release was titled, “Puma Biotechnology
22
     Updates Timeline for Filing New Drug Application” and contained the headline, “NDA
23
     Filing Currently Anticipated for Q1 2016.” (Emphasis in original).
24

25

26
     6
      Sam Ross, “Puma Biotechnology: Who Are They? What Happened? And, Where
     Are They Going?” (August 21, 2014), http://seekingalpha.com/article/2442635-puma-
27   biotechnology-who-are-they-what-happened-and-where-are-they-going (last accessed
28   April 10, 2016).
                                                 45
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 1
           132. In the 12/2/14 Press Release, the Company acknowledged its past
 2
     representations regarding filing the NDA for neratinib in the first half of 2015, but said
 3
     that, based on the Company’s recent meetings with the FDA, “Puma intends to delay
 4   its proposed timeline for filing the NDA until the first quarter of 2016.”
 5         133. Later the same day, December 2, 2014, the Company held a conference
 6   call to discuss its shocking news about the delay in its NDA filing.
 7         134. During the conference call, Defendant Auerbach confirmed that the FDA
 8   had requested Puma to submit the results of the two-year DFS data from ExteNET and
 9   again acknowledged that the Company maintained and had direct knowledge of the DFS
10   rates for the treatment and placebo arms. Specifically, Defendant Auerbach stated,
11   “That’s correct. The data that was provided [to the FDA] was the full DFS data – so the
12   Kaplan-Meier curves, [all the] endpoints, the DFS rates, the whole nine yards.”

13
           December 4, 2014 – SEC Reprimand
           135. On December 4, 2014, the SEC sent a letter to Defendant Eyler taking issue
14
     with the Management’s Report on Internal Control over Financial Reporting included
15
     in the 2013 10-K. The SEC felt it necessary to remind the Company’s management that
16
     it was responsible for the accuracy and adequacy of the Company’s filings.
17
     Specifically, the SEC stated the following:
18                We urge all persons who are responsible for the accuracy and
19                adequacy of the disclosure in the filing to be certain that the
                  filing includes the information the Securities Exchange Act
20                of 1934 and all applicable Exchange Act rules require. Since
21                the company and its management are in possession of all facts
                  relating to a company’s disclosure, they are responsible for
22                the accuracy and adequacy of the disclosures they have made.
23
           136. The SEC required the Company to provide a written statement
24
     acknowledging that (1) the company is responsible for the adequacy and accuracy of
25
     the disclosure in the filing, (2) staff comments or changes to disclosure in response to
26
     staff comments do not foreclose the Commission from taking any action with respect to
27
     the filing, and (3) the company may not assert staff comments as a defense in any
28
                                                 46
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 1
     proceeding initiated by the Commission or any person under the federal securities laws
 2
     of the United States.
 3
             137. On December 18, 2014, Defendant Auerbach, writing on behalf of the
 4   Company, responded to the SEC with amended financials and assured the SEC that the
 5   Company applied the appropriate standard for management’s assessments on the
 6   Company’s Internal Control Over Financial Reporting.                  Also, the Company
 7   acknowledged that it was responsible for the adequacy and accuracy of the disclosure
 8   in the filing.
 9           138. On January 2, 2015, the SEC wrote again to the Company, this time issuing
10   a stern warning for the future. The SEC wrote:
                  We remind you that [y]our comments or changes to disclosure
11
                  in response to our comments do not foreclose the Commission
12                from taking any action with respect to the company or the
                  filings and the company may not assert staff comments as a
13
                  defense in any proceeding initiated by the Commission or any
14                person under the federal securities laws of the United States.
                  We urge all persons who are responsible for the accuracy
15
                  and adequacy of the disclosure in the filings to be certain
16                that the filings include the information the Securities
                  Exchange Act of 1934 and all applicable rules require.7
17

18           January 20-22, 2015 – Follow-on Offering

19
             139. Feeling the heat from the SEC and that its scheme to defraud the public
     was coming loose, the Company sought to immediately capitalize off of the artificially
20
     inflated stock price by holding yet another public offering.
21
             140. On January 20, 2015, the Company filed a Registration Statement on Form
22
     S-3ASR with the SEC, signed by Defendants Auerbach, Malley, Moyes, Wilson, (i.e.
23
     the entire Board at the time), and Eyler, in connection with an offering of 1,000,000
24
     shares of Puma common stock, in addition to debt securities and warrants (the “2015
25
     Registration Statement”).
26
27
     7
28       Unless otherwise noted, emphasis added throughout.
                                                  47
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 1
           141. The 2015 Registration Statement explained that the Company was
 2
     spending money at an unprecedented rate; it incurred a net loss of $94.5 million in the
 3
     nine months ended September 30, 2014, more than the total net loss of three out of the
 4   four previous fiscal years combined.
 5         142. The 2015 Registration Statement incorporated by reference the Company’s
 6   7/22/14 Press Release announcing the purported results of ExteNET.
 7         143. On January 20, 2015, the Company filed a prospectus, undated, on Form
 8   424B5 (the “2015 B5 Prospectus”) to announce the offering of 1 million shares of Puma
 9   common stock (the “2015 Follow-on Offering”). Defendants Auerbach and Eyler
10   wrote, adopted and approved of the contents of the 2015 B5 Prospectus.
11         144. The 2015 B5 Prospectus made similar misrepresentations as those made in
12   the 7/22/14 Press Release regarding the results from ExteNET. The 2015 B5 Prospectus

13
     represented “The results of [the ExteNET trial] demonstrated that treatment with
     neratinib resulted in a 33% improvement in disease free survival versus placebo.”
14
           145. The 2015 B5 Prospectus reiterated that the Company “anticipate[s]
15
     presenting and publishing the Phase III trial results in mid-2015 and intend[s] to file for
16
     regulatory approval of neratinib in the extended adjuvant setting in the first quarter of
17
     2016.”
18
           146. Moreover, the 2015 B5 Prospectus represented to investors and the public
19
     that the market for neratinib, once approved, will be lucrative. The Company stated,
20
     “We believe that the worldwide Herceptin adjuvant revenue in 2013 was approximately
21
     $4.3 billion.”
22         147. On January 22, 2015, the Company filed a prospectus, dated January 21,
23   2015, on Form 424B2 (the “2015 B2 Prospectus”) also announcing the 2015 Follow-on
24   Offering. Defendants Auerbach and Eyler wrote, adopted and approved of the contents
25   of the 2015 B2 Prospectus.
26         148. The 2015 B2 Prospectus contained the identical misrepresentations
27   contained in the 2015 B5 Prospectus.
28
                                                  48
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 1
           149. On January 21, 2015, the Company entered into an agreement with two of
 2
     its underwriters that allowed them to purchase up to an additional 150,000 shares of its
 3
     common stock at the public offering price, less underwriting discounts and
 4   commissions.
 5         150. By January 27, 2015, the Company completed the 2015 Follow-on
 6   Offering. In total, the Company sold 1,150,000 shares of Company common stock in
 7   the 2015 Follow-on Offering, which netted proceeds of $205 million for the Company
 8   after expenses.
 9         February 12, 2015 – Another Misleading Conference Call
10         151. On February 12, 2015, Puma held a conference call with analysts and
11   investors for the purpose of updating the market regarding the Company’s product
12   pipeline. Defendant Auerbach led the call and again claimed that the results of

13
     ExteNET demonstrated that “[t]here was a 33% improvement in disease-free survival”
     for patients on neratinib.
14
           March 2, 2015 - 2014 Annual Report
15
           152. On March 2, 2015, the Company filed an annual report for the fiscal year
16
     ended December 31, 2014 on a Form 10-K with the SEC (“2014 10-K”), which was
17
     signed by Defendants Auerbach, Malley, Moyes, Wilson, (i.e. the entire Board at the
18
     time), and Defendant Eyler.
19
           153. Attached to the 2014 10-K were SOX certifications signed by Defendants
20
     Auerbach and Eyler attesting to the accuracy of the 2014 10-K. Specifically, the SOX
21
     certifications certified that the 2014 10-K “does not contain any untrue statement of a
22   material fact or omit to state a material fact necessary to make the statements made, in
23   light of the circumstances under which such statements were made, not misleading.”
24         154. Financials: For the year ended December 31, 2014 (“Fiscal 2014”) the
25   Company reported operating losses of $142.3 million, which resulted in a net loss per
26   common share of $4.73 with 30,010,979 common shares outstanding. This included
27   $122.9 million spent on research and development in Fiscal 2014. The Company’s
28   general and administrative (“G&A”) expenses increased 97.8% from the previous fiscal
                                                     49
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 1
     year. The Company admitted that its almost doubling of G&A expenses was “primarily
 2
     attributable to an increase in stock-based compensation expense . . . payroll . . . [and]
 3
     professional fees.” On the recent infusion of cash from the sale of Company stock in
 4   the Follow-on Offering, the 2014 10-K reported total Company assets of $162.8 million.
 5          155. Clinical Results: Regarding the results of ExteNET, the Company stated,
 6   “The primary endpoint of the trial was disease free survival (DFS). The results of the
 7   trial demonstrated that treatment with neratinib resulted in a 33% improvement in
 8   disease free survival versus placebo.” Moreover, the Company stated, “[w]e anticipate
 9   presenting and publishing the Phase III trial results in mid-2015 and intend to file for
10   regulatory approval of neratinib in the extended adjuvant setting in the first quarter of
11   2016.”
12          March 3, 2015 and May 7, 2015 – Clinical Update Conference Calls

13
            156. On March 3, 2015, Puma held a conference call with investors and analysts
     to provide an update on the status and results of the Company’s clinical trial programs.
14
     During the call, Defendant Auerbach stated, “So we announced the results in July of
15
     2014, where we announced that the trial hit the primary endpoint. So, 33% improvement
16
     in disease free survival . . . .”
17
            157. On May 7, 2015, Puma held a conference call with investors and analysts
18
     to provide an update on the regulatory and clinical status of neratinib. During the call,
19
     Defendant Auerbach reiterated: “In July last year, we announced the trial hit its primary
20
     endpoint. We saw a 33% improvement in invasive disease-free survival . . . .”
21
            May 11, 2015 – First Quarter 2015 Results
22          158. On May 11, 2014, the Company filed a quarterly report for the period
23   ended March 31, 2015 on a Form 10-Q with the SEC (“1Q 2015 10-Q”), which was
24   signed by Defendants Auerbach and Eyler.
25          159. Attached to the 1Q 2015 10-Q were SOX certifications signed by
26   Defendants Auerbach and Eyler attesting to the accuracy of the 1Q 2015 10-Q.
27          160. The 1Q 2015 10-Q stated the following about the Company’s slated NDA
28   submission to the FDA:
                                                    50
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 1               [W]e expect payroll and related costs and professional fees
 2               and expenses to continue to increase as we prepare to support
                 the Company’s activities related to the filing of a New Drug
 3               Application, or NDA, with the FDA during the first quarter
 4               of 2016 and as we prepare for commercialization.

 5               ***
 6               The remaining approximately $33.6 million of cash used in
 7               operating activities reflects the increased cost associated with
                 expanding our clinical trials and in preparing for the filing of
 8               an NDA in the first quarter of 2016.
 9
           The Truth Begins to Emerge: May 13, 2015
10
           161. After the close of trading on May 13, 2015, Puma released four abstracts
11
     relating to neratinib ahead of their presentation at the American Society of Clinical
12
     Oncology (“ASCO”) annual meeting. Among these abstracts was Abstract #508, which
13
     reported results for ExteNET.8
14
           162. Abstract #508 reported that “93.9 percent of neratinib patients were alive
15
     without their disease progressing, compared with 91.6 percent of patients with a
16   placebo,” and “Puma had previously disclosed that treatment with neratinib had resulted
17   in a significant 33 percent improvement in disease-free survival.”
18         163. Abstract #508’s data showed that the DFS (listed as “IDFS”) for patients
19   in the treatment arm of ExteNET was 93.9% and the DFS for patients in the placebo
20   arm was 91.6%. Thus, according to Abstract #508, the absolute difference in DFS rates
21   between neratinib and placebo was only 2.3%, which was considerably, and materially,
22   lower than what was reported by the Company.
23
     8
24    Arlene Chan et al., Neratinib after adjuvant chemotherapy and trastuzumab in
     HER2-positive early breast cancer: Primary analysis at 2 years of a phase 3,
25   randomized, placebo-controlled trial (ExteNET), J Clin Oncol 33, 2015 (suppl; abstr
26   508); see http://meetinglibrary.asco.org/content/149972-156 (last accessed April 9,
     2016);
27   http://meeting.ascopubs.org/cgi/content/abstract/33/15_suppl/508?sid=fb118108-
28   f0b2-45d1-b3b8-e9ae7c175986 (last accessed April 9, 2016).
                                                51
                             Verified Shareholder Derivative Complaint
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 1
           164. The news garnered national attention. For example, an article published
 2
     by Seeking Alpha on May 13, 2015 stated the following about the news:
 3               Puma Biotechnology (NYSE:PBYI) has tumbled to $165.00
 4
                 in AH trading after releasing 4 abstracts for its PB272
                 (neratinib) breast cancer drug that will be presented at the
 5               ASCO annual meeting (runs from May 29-June 2).
 6                The abstracts are available on ASCO’s site. Puma initiated a
 7                Phase 2 study for neratinib in March.9
 8         165. Likewise, an article published by Reuters on May 13, 2015 stated the
 9   following about the news:
10
                 Puma shares slid 25 percent after hours following release of
                 the findings on Wednesday by the American Society of
11               Clinical Oncology ahead of its annual meeting later this
12
                 month.

13                ***
14                It found that after two years, 93.9 percent of neratinib patients
15
                  were alive without their disease progressing, compared with
                  91.6 percent of patients treated with a placebo.
16
                  Puma had previously disclosed that treatment with neratinib
17                had resulted in a significant 33 percent improvement in
18                disease-free survival.10
19         166. The next day, May 14, 2015, an article was published by FierceBiotech
20   titled “The ASCO roundup: Thumbs down for Puma, up for Roche, mixed for Bristol-
21   Myers.”11 The article labeled Puma a “big loser” and, referring to the data presented in
22

23
     9
      Eric Jhonsa, “Puma down 21.3% after releasing neratinib abstracts” (May 13, 2015),
     http://seekingalpha.com/news/2521996-puma-down-21_3-percent-after-releasing-
24   neratinib-abstracts (last accessed April 10, 2016).
25   10
       Deena Beasley, Puma Biotech breast cancer trail detailed, shares fall 25 pct (May
26   13, 2015), http://www.reuters.com/article/cancer-asco-puma-
     idUSL1N0Y430E20150513 (last accessed April 10, 2015).
27   11
       John Carroll, The ASCO roundup: Thumbs down for Puma, up for Roche, mixed for
28   Bristol-Myers (May 14, 2015), http://www.fiercebiotech.com/story/asco-roundup-
                                                 52
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     Abstract #508, the article stated, “Scoring the percentage of women who were free of
 2
     invasive disease, the neratinib group hit 93.9% compared to 91.6% in the placebo arm.
 3
     Analysts did a double take on the meager 2.3% difference and quickly turned thumbs
 4   down on the data. . . .”
 5         167. On this news, the price of Puma’s common stock plummeted by $39.05
 6   per share or 18.6% to close at $170.67 on May 14, 2015. The huge drop came on
 7   massive volume, as the number of shares traded on May 14, 2015 increased more than
 8   nine-fold over Puma’s average daily trading volume for the prior 90 days.
 9         May 28, 2015 – Restricting Access at ASCO
10         168. On May 28, 2015, an article was published on TheStreet, an investment
11   analysis resource, titled “Puma Bio Restricting Access to Breast Cancer Event at ASCO
12   Chicago” (the “TheStreet Report”).12          TheStreet Report explained, “Puma Bio,

13
     embroiled in controversy over its breast cancer drug neratinib, is turning away some
     investors and at least one analyst from [the ASCO annual meeting].”
14
           169. Importantly, TheStreet Report called the Company out on its shady
15
     practices, stating, “Restricting access to a corporate event might not be such a big deal
16
     if not for Puma’s penchant for selectively disclosing important information to people
17
     deemed friendly to the company.”
18
           170. TheStreet Report noted that Abstract #508 contained “disappointing
19
     results from a large study of neratinib in breast cancer patients.” It then noted that
20
     additional data not published in the abstract was selectively released to certain
21
     institutional investors, but not others.
22

23

24   thumbs-down-puma-roche-mixed-bristol-myers/2015-05-14 (last accessed April 10,
25   2016).
26
     12
       Adam Feuerstein, “Puma Bio Restricting Access to Breast Cancer Event at ASCO
     Chicago” (May 28, 2015), http://www.thestreet.com/story/13166632/1/puma-bio-
27   restricting-access-to-breast-cancer-event-at-asco-chicago.html (last accessed April 10,
28   2016).
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           171. TheStreet Report also noted the following about the importance of the
 2
     ASCO annual meeting:
 3             Puma has said neratinib is a potential blockbuster drug for the
 4
               treatment of HER2-positive breast cancer patients in the
               extended adjuvant setting. The data supporting this indication
 5             from the phase III “ExteNet” study are controversial,
 6
               however, and will be subject to much debate at this year’s
               ASCO annual meeting.
 7
           The Truth Fully Emerges: June 1, 2015 – Full Data for ExteNET Revealed
 8
           172. On June 1, 2015, Dr. Arlene Chan presented the results of ExteNET at the
 9   ASCO annual meeting, expanding upon those results reported in Abstract #508. The
10   full results reiterated what Abstract #508 showed, that the absolute difference in DFS
11   rates at two years was only 2.3%.
12         173. The data presented by Dr. Chan revealed, for the first time, the Kaplan-
13   Meier curves for ExteNET. The curves were flat between the treatment arm and the
14   placebo arm, with no trend of separation. The vast majority of the separation came
15   within the first year, showing an absolute DFS difference of 2.2% after one year and
16   only a 0.1% difference thereafter. Moreover, the curves began to narrow after year two.
17         174. The data made clear that the Company’s and Defendant Auerbach’s

18   statements of material fact regarding the success of neratinib in ExteNET were false
     and/or misleading. For example, Defendant Auerbach’s claims that “the [Kaplan-
19
     Meier] curves are continuing to separate,” “the absolute DFS difference is increasing
20
     year over year,” and “the results of [ExteNET] demonstrated that treatment with
21
     neratinib resulted in a 33% reduction of risk of invasive disease recurrence or death
22
     versus placebo” were all shown to be false and misleading at all relevant times.
23
           175. Dr. Chan presented the following slide, showing the primary endpoint
24
     results in ExteNET:
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14         176. Dr. Chan’s presentation also disclosed that 39.9% of ExteNET patients that
15   were treated with neratinib experienced grade 3 or 4 diarrhea and that 16.8% of patients
16   taking neratinib discontinued treatment as a result of experiencing the grade 3 or higher
17   diarrhea. Thus, the percentage of patients taking neratinib in the ExteNET trial who
18   discontinued treatment and/or dropped out of the trial was far greater than the 5% to

19   10% range that Defendant Auerbach had previously claimed.

20
           177. On June 1, 2015, the Company filed a Form 8-K with the SEC, signed by
     Defendant Auerbach, which attached a press release issued earlier that day (the “6/1/15
21
     Press Release”). The 6/1/15 Press Release was titled, “Puma Biotechnology Announces
22
     Phase III Trial of PB272 in Extended Adjuvant Breast Cancer (ExteNET Trial)
23
     Demonstrates Statistically Significant Improvement in Disease Free Survival.”
24
           178. Discussing the data from ExteNET, the 6/1/15 Press Release disclosed that
25
     “39.9% of the neratinib-treated patients experienc[ed] grade 3 or higher diarrhea.”
26
           179. Notably, in the 6/1/15 Press Release, the Company stepped back from its
27
     repeated representations of a “33% improvement in disease-free survival.” Instead, in
28
                                                 55
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 1
     a misleading attempt to cover its tracks while looking consistent, the Company made
 2
     the following representation:
 3                The primary endpoint of the trial was invasive disease free
 4
                  survival (DFS). The results of the trial demonstrated that
                  treatment with neratinib resulted in a 33% reduction of risk
 5                of invasive disease recurrence or death versus placebo
 6
                  (hazard ratio = 0.67, p = 0.009). The 2-year DFS rate for the
                  neratinib arm was 93.9% and the 2-year DFS rate for the
 7                placebo arm was 91.6%.
 8         180. The 6/1/15 Press Release also quoted Defendant Auerbach in his words to
 9   investors: “We look forward to proceeding with the regulatory filing for neratinib for
10   the extended adjuvant treatment of breast cancer currently anticipated in the first quarter
11   of 2016.”
12         181. Despite these assurances regarding the NDA filing in 2016, the data were
13   inconsistent with previous representations by the Company. As pointed out by an article
14   published by TheStreet on June 1, 2015, Dr. Harold Burstein, a breast cancer expert
15   from the Dana-Farber Cancer Institute, stated that “[t]he benefit for breast cancer
16   patients treated with Puma’s neratinib was ‘awfully small’ for a drug that causes ‘a lot

17
     of diarrhea.’”13
           182. A Cowen and Company pharmaceutical analyst, explained:
18
                Given prior comments from PBYI, investors had expectation
19              (sic) of at least a 3% absolute benefit, and perhaps a benefit
20              as high as 4-5%. In addition, some physicians are focused on
                absolute benefits as much as relative risk reductions. Given
21              neratinib is associated with significant tolerability issues,
22              some consultants have commented that they would like to see
                at least 3-4 women cured per 100 treated. Hence the 2.3%
23              figure could lead to lower penetration in the marketplace.
24

25

26
     13
       Adam Feuerstein, “Puma Bio Breast Cancer Drug Given Rough Treatment at
     ASCO ‘15” (June 1, 2015), http://www.thestreet.com/story/13170389/1/puma-bio-
27   breast-cancer-drug-given-rough-treatment-at-asco-15.html (last accessed April 10,
28   2016).
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           183. A later Cowen and Company analyst report explained why the truth about
 2
     neratinib and ExteNET was negative, stating the following:
 3
                 Neither of our consultants were enthusiastic about the
 4               ExteNET dataset. They noted that the prognosis for HER2+
                 early stage patients is already very good with currently
 5
                 available therapies, therefore even though the hazard ratio
 6               targets were met, the absolute magnitude of difference in DFS
                 was “trivial.” Neratinib’s use is likely to be limited to a small
 7
                 subset, most likely in ER/PR+ node positive disease.
 8
                 ***
 9
                 Both consultants believe that the market share for this drug is
10
                 likely to be “very small” in the extended adjuvant setting
11               because (1) patients do very well on existing therapies, (2)
                 neratinib has significant tolerability issues, even with
12
                 imodium prophylaxis, [and] (3) the vast majority [of patients]
13               (~80%) are node negative, where the drug is likely to only
                 show a modest benefit . . . .
14

15         184. Other investors likewise reacted harshly to the ExteNET data, and on June

16   1, 2015, the price of Puma common stock plummeted $21.98 or 11.5% to close at

17
     $169.97. The next day, June 2, 2015, the price of Puma’s common stock continued
     falling and dropped an additional $23.32 or 13.7% to close at $146.65. The over 23%
18
     two-day drop came on above average volume, between six and eight times the 90 day
19
     average.
20         June 4, 2015 – Puma Common Stock Continues its Tumble
21         185. On June 4, 2015, an article was published by TheStreet titled “Top-
22   Performing Biotech and Drug Stocks During ASCO ‘15” (the “6/4/15 TheStreet
23   Report”).14 The 6/4/15 TheStreet Report announced that “Puma Biotech (PBYI) was
24   the worst-performing biotech and drug stock during the ASCO period, falling 28% due
25

26
     14
       Adam Feuerstein, “Top-Performing Biotech and Drug Stocks During ASCO ‘15”
27   (June 4, 2015), http://www.thestreet.com/story/13174675/1/top-performing-biotech-
28   and-drug-stocks-during-asco-15.html (last accessed April 10, 2016).
                                                57
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     to the underwhelming efficacy and high rate of side effects seen with the company’s
 2
     breast cancer drug neratinib.”
 3
           186. Over the next four trading days, June 4, 5, 8, and 9, 2015 the price of Puma
 4   common stock tumbled down $16.22 or 11% to close at $130.80 on June 9, 2015.
 5         June-November, 2015 – Puma Common Stock Continues its Descent
 6         187. Over the following months, the price of Puma common stock continued to
 7   fall, the Individual Defendants continued their rampant mismanagement of the
 8   Company’s affairs, and the misrepresentations continued.
 9         188. First, between June 9, 2015 and November 19, 2015, the price of Puma
10   common stock dropped $63.45 or 48.5% to close at $67.35 on November 19, 2015.
11         189. Second, the Individual Defendants continued needlessly spending badly
12   needed Company assets while diluting shareholders’ equity. For instance, on June 9,

13
     2015 the shareholders approved, on advice from the Board, a proposal by the Board
     (nearly 8 million shares voted against the proposal), to increase the number of shares of
14
     common stock the Company is authorized to issue its employees under the Company’s
15
     2011 Incentive Award Plan by 4,000,000 shares, from 6,529,412 shares to 10,529,412
16
     shares. This type of self-dealing continued on October 7-8, 2015, when the Company’s
17
     Compensation Committee increased Defendants Auerbach’s and Eyler’s annual salaries
18
     by $63,000 and $39,492, respectively, effective September 1, 2015. These actions were
19
     undertaken despite the fact that the Company’s expenses were increasing and an
20
     expensive directorial position was added to the Board.
21
           190.   Third, the Company persisted in its scheme to disseminate false and
22   misleading material facts, even after shareholders were substantially damaged due to
23   the same. In the Company’s quarterly reports for the quarter ended June 30, 2015, filed
24   with the SEC on August 10, 2015 and signed by Defendants Auerbach and Eyler, and
25   attaching SOX certifications signed by Defendants Auerbach and Eyler attesting to the
26   accuracy of the quarterly report, the Company represented that it was “preparing for the
27   filing of a NDA with the FDA during the first quarter of 2016.” In the next quarterly
28   report for the quarter ended September 30, 2015 and filed with the SEC on November
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     9, 2015, the Company made a similar representation, but used slightly different
 2
     language, stating that the Company was “preparing for the filing of an NDA, which we
 3
     anticipate to occur in the first quarter of 2016.”
 4         November 19, 2015 – Demand on the Board Rejected
 5         191. On November 19, 2015, the Company filed a Form 8-K with the SEC,
 6   signed by Defendant Auerbach, which addressed an investor’s efforts to reform the
 7   Company’s management structure (the “11/19/15 8-K”).
 8         192. The Company had earlier disclosed, through a November 2, 2015 Form 8-
 9   K, that Dr. Fredric N. Eshelman (referred to as “Holder” in the 11/19/15 8-K and “Dr.
10   Eshelman” herein) was seeking the support of the Company’s stockholders in an effort
11   to ensure proper management and supervisory control over the Company. Dr. Eshelman
12   based his demands for corporate reforms on allegations of breach of fiduciary duty.

13
           193. As announced in the 11/19/15 8-K, Dr. Eshelman filed a Definitive
     Consent Statement with the SEC on November 18, 2019 (the “DCS”). The DCS
14
     contained four proposals, including a request to repeal any bylaw not in the Company’s
15
     Bylaws as of September 14, 2007, remove any directorial appointment after September
16
     9, 2015, increase the size of the Board from five to nine directors, and to elect Fredric
17
     N. Eshelman, James M. Daly, Seth A. Rudnick, and Kenneth B. Lee, Jr. to the Board.
18
           194. The Company reviewed Dr. Eshelman’s demands and rejected each one of
19
     them outright, stating that “[t]he Board believes that Holder’s efforts to increase the size
20
     of the Board and to appoint Holder’s nominees to the Board is a disruptive and value
21
     destructive exercise . . . . As such, the Board strongly recommends that stockholders
22   reject Holder’s Consent Solicitation . . . .” (Emphasis in original).
23         195. The 11/19/15 8-K announced that “[t]he Company plans to file a consent
24   revocation statement with the SEC that will enable it to solicit the revocation of any
25   consents stockholders may have already submitted in respect of Holder’s proposals.”
26   The 11/19/15 8-K then listed several reasons that were considered by the Board “in
27   reaching its conclusion to recommend that stockholders reject Holder’s Consent
28   Solicitation.” Among these reasons were the following: (1) the Company “anticipates
                                                  59
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     filing for regulatory approval of PB272 for the extended adjuvant treatment of HER2-
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     positive breast cancer in the first quarter of 2016,” (2) the Company believes that a five-
 3
     member Board is “appropriate for effectively governing the Company,” (3) the current
 4   Board is fit to guide the Company through the next stages of development, “which
 5   include the expected filing of an NDA for PB272 for the extended adjuvant treatment
 6   of HER2-positive breast cancer in the first quarter of 2016,” and (4) Holder relies on
 7   “baseless allegations of breaches of fiduciary duty by the Board.”
 8         196. The Company concluded the 11/19/15 8-K by reiterating the Board’s
 9   rejection of all of Dr. Eshelman’s recommended reforms and strongly urging
10   shareholders to do the same. Specifically, the 11/19/15 8-K read, “Accordingly, the
11   Company’s Board of Directors urges stockholders of the Company to reject
12   Dr. Fredric N. Eshelman’s Consent Solicitation . . . . Stockholders who have already

13
     returned WHITE consent cards are urged to revoke their consent.” (Emphasis in
     original).
14
           197. On December 4, 2015, the Company filed a Proxy Statement on Schedule
15
     14A with the SEC, attaching a December 4, 2015 slideshow that the Company presented
16
     to Institutional Shareholder Services Inc. (the “12/4/15 Presentation”).
17
           198. The 12/4/15 Presentation reiterated the Company’s representation that it
18
     would file the NDA in the first quarter of 2016.
19
           199. Importantly, the 12/4/15 Presentation also provided the Company’s
20
     position on Dr. Eshelman’s demand on the Board. The 12/4/15 Presentation defended
21
     the Individual Defendants’ experience, explained the Company’s belief that the Board’s
22   size was “optimal,” used the directors’ large holdings of Company stock to defend their
23   placement on the Board, attacked Dr. Eshelman’s arguments regarding the false and
24   misleading statements of material fact made by the Company, and dismissed Dr.
25   Eshelman’s proposals.       The following are exemplary slides from the 12/4/15
26   Presentation:
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           200. Thus, the Board rejected many of the demands (i.e. corporate reforms)
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     Plaintiff moves for in this action. Moreover, the Company represented to investors that
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     it would file an NDA for regulatory approval of neratinib in the United States in the
 2
     first quarter of 2016. Using this misrepresentation it attempted to convince investors to
 3
     reject an ongoing effort to reform the Company’s inadequate controls and management.
 4         201. Communications between the Individual Defendants and Dr. Eshelman is
 5   ongoing, but deteriorating into a frenzy of insults and allegations of fraud. On January
 6   20, 2016, Dr. Eshelman demanded an apology from Defendant Auerbach for slanderous
 7   comments he made to investors about Dr. Eshelman.
 8   February 29, 2016 – 2015 Annual Report
 9         202.   On February 29, 2016, the Company filed an annual report for the fiscal
10   year ended December 31, 2015 on a Form 10-K with the SEC (“2015 10-K”), which
11   was signed by the entire Board that exists at the time of filing of this Complaint and
12   Defendant Eyler.

13
           203. Attached to the 2015 10-K were SOX certifications signed by Defendants
     Auerbach and Eyler attesting to the accuracy of the 2015 10-K. Specifically, the SOX
14
     certifications certified that the 2015 10-K “does not contain any untrue statement of a
15
     material fact or omit to state a material fact necessary to make the statements made, in
16
     light of the circumstances under which such statements were made, not misleading.”
17
           204. The 2015 10-K contained the misleading amended language relating to the
18
     results of ExteNET, which the Company began using after its previous false and
19
     misleading misrepresentations about the same were detected.            Specifically, the
20
     Company represented the following:
21             The primary endpoint of the trial was invasive disease free
22
               survival (DFS). The results of the trial demonstrated that
               treatment with neratinib resulted in a 33% reduction of risk of
23             invasive disease recurrence or death versus placebo (hazard
24
               ratio = 0.67, p = 0.009). The 2-year DFS rate for the neratinib
               arm was 93.9% and the 2-year DFS rate for the placebo arm
25             was 91.6%.
26         205. The Company also continued to represent that it anticipated filing the NDA
27   with the FDA in the first quarter of 2016. Specifically, the Company represented, in its
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                                                 63
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     2015 10-K, that it incurred additional expenses for the fiscal year “in preparation of
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     filing an NDA with the FDA, which we anticipate will occur in the first quarter of
 3
     2016.”
 4         206. Indeed, in a press release issued the same day, February 29, 2016, the
 5   Company explained, “We anticipate . . . submitting a New Drug Application (NDA) to
 6   the U.S. Food and Drug Administration (FDA) during the first quarter of 2016.”
 7         March 29, 2016 – Submission of NDA for Approval of Neratinib Pushed
 8         Back
 9         207. One day before the end of the first quarter of 2016 and less than a month
10   after representing that it anticipated filing an NDA for neratinib in the first quarter of
11   2016, the Company admitted that it was not prepared to do what it assured the public it
12   was prepared to do. On March 28, 2016, the Company announced that based on its

13
     recent meetings with the FDA, the Company now planned to submit its NDA for the
     approval of neratinib in mid-2016.
14
           208. On this news, the price of Puma common stock dropped $7.45 or 21% to
15
     close at $27.92 on March 29, 2016. The huge drop came on a record-setting volume of
16
     over 4.1 million shares trading hands.
17
           Defendant Auerbach Attempts to Sell the Company
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           209. Defendant Auerbach breached his fiduciary duties by actively seeking to
19
     have the Company acquired by a larger pharmaceutical company after Puma’s stock
20
     price was artificially inflated due to the false and misleading statements discussed
21
     herein. Per Defendant Auerbach’s and Eyler’s agreements with the Company, the sale
22   of Puma would trigger a change of control provision contained therein. Pursuant to the
23   provision, upon a change of control Defendant Auerbach’s and Eyler’s stock options
24   would immediately vest and all of their shares, which totaled over 6 million and
25   120,000, respectively, before the truth fully emerged, could be cashed in at the
26   acquisition price. Moreover, a change of control would permit Defendant Auerbach to
27   exercise a warrant to acquire an additional 2,116,250 shares of Company common stock
28   at $16.00 per share and also cash those in at the acquisition price.
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 1
           Defendants’ Wrongful Conduct
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           210. In breach of their fiduciary duties owed to Puma, the Individual
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     Defendants willfully or recklessly made and/or caused the Company to make at least
 4   the following false and/or misleading statements of material fact: (1) ExteNET trial data
 5   showed an absolute difference in disease-free survival rates between neratinib and
 6   placebo of approximately 5%, (2) the data from the ExteNET trial demonstrated a 33%
 7   improvement in disease-free survival, (3) the data from the ExteNET trial showed that
 8   the Kaplan-Meier curves were separating or widening, (4) the results from the ExteNET
 9   trial were “in line” with the Herceptin Adjuvent Studies, (5) the Company anticipated
10   filing a New Drug Application (“NDA”) for neratinib in the first half of 2015, (6) that
11   approximately 29% to 30% of patients treated with neratinib suffered grade 3 or 4
12   diarrhea, and that the dropout rate due to adverse events would be 5% to 10%, and (7)

13
     the Company anticipated filing an NDA for neratinib in the first quarter of 2016. These
     facts pertained to the Company’s business, operations, and prospects and were known
14
     to the Individual Defendants or recklessly disregarded by them. The Company’s
15
     statements and representations, referenced above were materially false and misleading
16
     at all relevant times. Moreover, the Individual Defendants failed to adequately correct
17
     those false and misleading statements and/or omissions of material fact.
18
           211. In breach of their fiduciary duties owed to Puma, the Individual
19
     Defendants willfully or recklessly made and/or caused the Company to omit material
20
     facts, including (1) the truth surrounding each of the Company’s aforementioned false
21
     and misleading statements of material fact, and (2) the Individual Defendants’
22   intentional and/or reckless participation, either directly or indirectly, in the
23   dissemination of the false and misleading statements for the purpose of artificially
24   inflating the Company’s stock so as to equip the Company with sufficient assets to
25   maintain their salaries, bonuses, and fees.
26         212. In breach of their fiduciary duties owed to Puma, the Individual
27   Defendants willfully or recklessly caused the Company to sell $330 million of Company
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     stock at artificially inflated prices while causing the Company to increase their salaries,
 2
     bonuses, fees, and Company stock holdings.
 3
           213. The Individual Defendants also breached their fiduciary duties by failing
 4   to maintain internal controls.
 5         214. Moreover, Defendant Auerbach breached his fiduciary duties to Puma by
 6   actively seeking to have the Company acquired by a larger pharmaceutical company
 7   after Puma’s stock price was artificially inflated due to the false and misleading
 8   statements.
 9                                    DAMAGES TO PUMA
10         215. As a direct and proximate result of the Individual Defendants’ conduct,
11   Puma will lose and expend many millions of dollars.
12         216. Such expenditures include, but are not limited to, legal fees associated with

13
     the Securities Fraud Class Action filed against the Company and Defendants Auerbach
     and Eyler, and amounts paid to outside lawyers, accountants, and investigators in
14
     connection thereto, and losses of revenues caused by customers’ loss of trust in the
15
     Company’s business and products.
16
           217. Additionally, these expenditures include, but are not limited to, lavish
17
     compensation and benefits paid to the Individual Defendants who breached their
18
     fiduciary duties to the Company.
19
           218. Such costs include, but are not limited to, compensation, bonuses tied to
20
     the Company’s attainment of certain goals, which the Company misrepresented that it
21
     met, and benefits paid to the Individual Defendants who breached their fiduciary duties
22   to the Company.
23         219. As a direct and proximate result of the Individual Defendants’ conduct,
24   Puma has also suffered and will continue to suffer a loss of reputation and goodwill,
25   and a “liar’s discount” that will plague the Company’s stock in the future due to the
26   Company’s and their misrepresentations and the Individual Defendants’ breaches of
27   fiduciary duties and unjust enrichment.
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 1
                                DERIVATIVE ALLEGATIONS
 2
           220. Plaintiff brings this action derivatively and for the benefit of Puma to
 3
     redress injuries suffered, and to be suffered, as a result of the Individual Defendants’
 4   breaches of their fiduciary duties as directors and/or officers of Puma, gross
 5   mismanagement, abuse of control, waste of corporate assets, and unjust enrichment, as
 6   well as the aiding and abetting thereof.
 7         221. Puma is named solely as a nominal party in this action. This is not a
 8   collusive action to confer jurisdiction on this Court that it would not otherwise have.
 9         222. Plaintiff is, and at all relevant times has been, a shareholder of Puma.
10   Plaintiff will adequately and fairly represent the interests of Puma in enforcing and
11   prosecuting its rights, and, to that end, has retained competent counsel, experienced in
12   derivative litigation, to enforce and prosecute this action.

13
                            DEMAND FUTILITY ALLEGATIONS
           223. Plaintiff incorporates by reference and re-alleges each and every allegation
14
     stated above as if fully set forth herein.
15
           224. A pre-suit demand on the Board of Puma is futile and, therefore, excused.
16
     At the time of filing of this action, the Board consists of the following six individuals:
17
     Individual Defendants Auerbach, Moyes, Wilson, Zavrl, and Senderowicz (collectively,
18
     the “Director-Defendants”), and non-party Michael P. Miller (together with the
19
     Director-Defendants, the “Directors”). Plaintiff needs only to allege demand futility as
20
     to three of the six Directors that were on the Board at the time this action was
21
     commenced.
22         225. Foremost, demand is excused as to all of the Director-Defendants because
23   each one of them served on the Board when Dr. Eshelman made his demand for
24   corporate reforms through the DCS, which included much of the relief sought herein.
25   Instead of heeding Dr. Eshelman’s venerable requests, the Board commenced a
26   campaign of rejection, dismissal, and personal attacks. The 11/19/15 8-K and the
27   12/4/15 Presentation represent two of the many communications through which the
28   Board expressed its complete rejection of the need for corporate reform and the
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 1
     Individual Defendants’ liability related to the Company’s misrepresentations as
 2
     described herein.     Indeed, as described herein, the Board has expressly rejected
 3
     expanding the size of the Board, changing managerial or directorial staff, and making
 4   certain amendments to Puma’s Bylaws. Moreover, the Board has refused to initiate an
 5   investigation into the alleged misconduct outlined in the DCS, and much of which is
 6   alleged herein, and instead deemed such allegations “baseless allegations of breaches
 7   of fiduciary duty.” In rejecting Dr. Eshelman’s demands and failing to investigate the
 8   Individual Defendants’ breaches of fiduciary duty, the Board spent, and is spending,
 9   considerable effort and Company resources to convince shareholders to also reject Dr.
10   Eshelman’s demand. As part of its efforts, the Board created and presented detailed
11   presentations to shareholders, issued several proxy statements on the issue, and sent
12   letters to Dr. Eshelman and shareholders voicing its unshakeable position of purported

13
     innocence. Thus, demand has already been made on the Board, and rejected. But even
     if this Court finds that demand has not been made on the Board, based on the Board’s
14
     conduct in responding to Dr. Eshelman, such demand is futile and therefore, excused.
15
           226. Moreover, demand is excused as to all of the Director-Defendants because
16
     each one of them faces, individually and collectively, a substantial likelihood of liability
17
     as a result of their scheme and the false and misleading statements and omissions of
18
     material facts described herein, which render them unable to impartially investigate the
19
     charges and decide whether to pursue action against themselves and the other
20
     perpetrators of the scheme.
21
           227. In complete abdication of their fiduciary duties, the Director-Defendants
22   either knowingly or recklessly participated in making and/or causing the Company to
23   make the materially false and misleading statements alleged herein. The fraudulent
24   scheme was intended to make the Company appear more stable, profitable, and
25   attractive to investors. As a result of the foregoing, the Director-Defendants breached
26   their fiduciary duties, face a substantial likelihood of liability, are not disinterested, and
27   demand upon them is futile, and thus excused.
28
                                                  68
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 1
           228. Furthermore, demand in this case is excused because the Director-
 2
     Defendants, who are named as defendants in this action, control the Company and are
 3
     beholden to each other. The Board is especially beholden to Defendant Auerbach, who
 4   is the Company’s CEO-Chairman, and who is most responsible for causing the
 5   Company’s misconduct and for making the false and misleading statements of material
 6   fact alleged herein and for failing to adequately correct those false and misleading
 7   statements. Thus, each member of the Board is not disinterested or independent, faces
 8   a substantial likelihood of liability, and, thus, demand on each Director would have been
 9   futile, and is thus excused.
10         229. The Director-Defendants other than Defendant Auerbach hold at least one
11   position on a specific board committee. As stated in the 2015 Proxy Statement, the
12   board committees have the following responsibilities:
               Audit Committee
13

14                Our Audit Committee provides oversight over each of our
                  accounting and financial reporting process, the audit of our
15                consolidated financial statements and our internal control
16                function. Among other matters, the Audit Committee assists
                  our Board in oversight of the independent registered public
17                accounting firm qualifications, independence and
18                performance; is responsible for the engagement, retention and
                  compensation of the independent auditors; reviews the scope
19                of the annual audit; reviews and discusses with management
20                and the independent registered public accounting firm the
                  results of the annual audit and the review of our quarterly
21                consolidated financial statements, including the disclosures in
22                our annual and quarterly reports filed with the SEC; reviews
                  our risk assessment and risk management processes;
23                establishes procedures for receiving, retaining and
24                investigating complaints received by us regarding accounting,
                  internal accounting controls or audit matters; approves audit
25                and permissible non-audit services provided by our
26                independent registered public accounting firm; and reviews
                  and approves related person transactions under Item 404 of
27                Regulation S-K.
28
                                                  69
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 1
               Compensation Committee
 2
               Our Compensation Committee adopts and administers the
 3
               compensation policies, plans and benefit programs for our
 4             executive officers and all other members of our executive
               team. In addition, among other things, our Compensation
 5
               Committee annually evaluates, in consultation with our Chief
 6             Executive Officer, the performance and compensation of our
               Chief Executive Officer and our other executive officers.
 7
               Based on such evaluation, the Compensation Committee
 8             determines and approves all of the compensation of the Chief
               Executive Officer and other executive officers. The Chief
 9
               Executive Officer is not permitted to be present during any
10             Compensation Committee final deliberations or voting
               concerning the compensation of any executive officer,
11
               including the Chief Executive Officer. Our Compensation
12             Committee also administers the Puma Biotechnology, Inc.
               2011 Incentive Award Plan (the “Plan”). Additionally, the
13
               Compensation      Committee       annually    reviews    the
14             compensation and benefits of our non-management directors.
15
               The Compensation Committee has delegated certain of its
               authority under the Plan to the Stock Option Committee. See
16             “Stock Option Committee.”
17
               Nominating and Corporate Governance Committee
18

19
               Our Nominating and Corporate Governance Committee is
               responsible     for,   among      other     things,  making
20             recommendations regarding corporate governance, the
21
               composition of our Board, identification, evaluation and
               nomination of director candidates and the structure and
22             composition of committees of our Board. In addition, our
23             Nominating and Corporate Governance Committee oversees
               our     corporate      governance       guidelines,   makes
24             recommendations regarding our committee charters, oversees
25             compliance with our code of business conduct and ethics,
               contributes to succession planning, reviews actual and
26             potential conflicts of interest of our directors and officers
27             other than related person transactions reviewed by the Audit
               Committee and oversees the self-evaluation process of our
28
                                             70
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 1                Board. Our Nominating and Corporate Governance
 2                Committee also is responsible for making recommendations
                  regarding non-employee director compensation to the full
 3                Board.
 4                Stock Option Committee
 5
                  The Board delegated to the Stock Option Committee the
 6                authority to grant stock options to non-executive employees,
                  subject to the following conditions:
 7

 8                   the maximum aggregate number of shares of common
                  stock underlying options granted pursuant to this authority is
 9                100,000 per individual, subject to adjustment by the Board;
10                and
11                   the stock options must have an exercise price equal to the
                  closing price of our common stock on the grant date and have
12
                  a term not longer than ten years.
13
           230. Additional reasons that demand on Defendant Auerbach is futile follow.
14
     Defendant Auerbach is the Company’s Chairman and Chief Executive Officer, and is
15
     thus, as the Company admits, a non-independent director. Defendant Auerbach was
16
     ultimately responsible for all of the false and misleading statements and omissions that
17
     were made, including those contained in the SEC filings, almost all of which he attested
18   to the accuracy of, and including many of which he personally made. His large
19   Company stock holding, worth $1.4 billion on the day the fraud began to be exposed,
20   and which represented 18.9% of the Company’s issued and outstanding common stock,
21   reveals his interest in keeping the Company’s stock price as high as possible. Defendant
22   Auerbach received increases in salary and additional grants of stock while the Company
23   was collecting money from artificially inflated stock, to the detriment of the
24   shareholders and the Company. Moreover, Defendant Auerbach is a defendant in the
25   Securities Fraud Class Action. Finally, Defendant Auerbach conducted little, if any,
26   oversight of the Company’s internal controls over public reporting of financial

27   statements and of the Company’s engagement in the schemes to make false and

28
     misleading statements and/or omissions of material fact and waste corporate assets,
                                                 71
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 1
     consciously disregarded his duties to monitor such controls over reporting and
 2
     engagement in the schemes, and consciously disregarded his duties to protect corporate
 3
     assets. Moreover, Defendant Auerbach breached his fiduciary duties by attempting to
 4   sell the Company while the price of the Company’s stock was artificially inflated due
 5   to the false and misleading statements. For these reasons, too, Defendant Auerbach
 6   breached his fiduciary duties, faces a substantial likelihood of liability, is not
 7   independent or disinterested, and thus demand upon him is futile and, therefore,
 8   excused.
 9         231. Additional reasons that demand on Defendant Moyes is futile follow. His
10   large Company stock holding, worth $16.6 million on the day the fraud began to be
11   exposed, reveals his interest in keeping the Company’s stock price as high as possible.
12   As Chairman of the Compensation Committee, a member of the Audit Committee and

13
     Nominating and Corporate Governance Committee, and a director, Defendant Moyes
     was responsible for the wasteful and unjust, lavish compensation of the Individual
14
     Defendants, conducted little, if any, oversight of the Company’s internal controls over
15
     public reporting of financial statements and of the Company’s engagement in the
16
     schemes to make false and misleading statements and/or omissions of material fact and
17
     waste corporate assets, consciously disregarded his duties to monitor such controls over
18
     reporting and engagement in the schemes, and consciously disregarded his duties to
19
     protect corporate assets.   For these reasons, too, Defendant Moyes breached his
20
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
21
     disinterested, and thus demand upon him is futile and, therefore, excused.
22         232. Additional reasons that demand on Defendant Wilson is futile follow. His
23   large Company stock holding, worth over $5.6 million on the day the fraud began to be
24   exposed, reveals his interest in keeping the Company’s stock price as high as possible.
25   As a member of the Audit Committee and a director, Defendant Wilson conducted little,
26   if any, oversight of the Company’s internal controls over public reporting of financial
27   statements and of the Company’s engagement in the schemes to make false and
28   misleading statements and/or omissions of material fact and waste corporate assets,
                                                 72
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 1
     consciously disregarded his duties to monitor such controls over reporting and
 2
     engagement in the schemes, and consciously disregarded his duties to protect corporate
 3
     assets. Thus, for these reasons, too, Defendant Wilson breached his fiduciary duties,
 4   faces a substantial likelihood of liability, is not independent or disinterested, and thus
 5   demand upon him is futile and, therefore, excused.
 6         233. Additional reasons that demand on Defendant Zavrl is futile follow. His
 7   large Company stock holding, worth $83.2 million and which represented 2.8% of the
 8   Company’s issued and outstanding common stock, reveals his interest in keeping the
 9   Company’s stock price as high as possible. As a member of the Audit Committee and
10   a director, Defendant Zavrl conducted little, if any, oversight of the Company’s internal
11   controls over public reporting of financial statements and of the Company’s
12   engagement in the schemes to make false and misleading statements and/or omissions

13
     of material fact and waste corporate assets, consciously disregarded his duties to
     monitor such controls over reporting and engagement in the schemes, and consciously
14
     disregarded his duties to protect corporate assets.         Thus, for these reasons, too,
15
     Defendant Zavrl breached his fiduciary duties, faces a substantial likelihood of liability,
16
     is not independent or disinterested, and thus demand upon him is futile and, therefore,
17
     excused.
18
           234. Additional reasons that demand on Defendant Senderowicz is futile
19
     follow. His large Company stock holding, worth almost $2.7 million, reveals his
20
     interest in keeping the Company’s stock price as high as possible. As a member of the
21
     Compensation Committee and a director, Defendant Senderowicz conducted little, if
22   any, oversight of the Company’s internal controls over public reporting of financial
23   statements and of the Company’s engagement in the schemes to make false and
24   misleading statements and/or omissions of material fact and waste corporate assets,
25   consciously disregarded his duties to monitor such controls over reporting and
26   engagement in the schemes, and consciously disregarded his duties to protect corporate
27   assets. Thus, for these reasons, too, Defendant Senderowicz breached his fiduciary
28
                                                  73
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 1
     duties, faces a substantial likelihood of liability, is not independent or disinterested, and
 2
     thus demand upon him is futile and, therefore, excused.
 3
           235. The Director-Defendants, as members of the Board, were and are subject
 4   to the Code of Ethics. The Code of Ethics goes well beyond the basic fiduciary duties
 5   required by applicable laws, rules, and regulations. The Code of Ethics requires all
 6   employees, officers and directors to avoid activities or relationships that conflict with
 7   the Company’s interests or adversely affect the Company’s reputation. The Director-
 8   Defendants did not comply with the requirements of the Code of Ethics. The Director-
 9   Defendants violated the Code of Ethics because they participated in or were recklessly
10   unaware of the materially false and misleading statements contained in the Company’s
11   public filings and communications, and in failing to maintain proper internal control
12   and regulatory compliance. Because the Director-Defendants violated the Code of

13
     Ethics, they face a substantial likelihood of liability for breaching their fiduciary duties,
     and therefore demand upon them is futile.
14
           236. The Director-Defendants, as members of the Board, were and are subject
15
     to the Corporate Guidelines. The Corporate Guidelines goes well beyond the basic
16
     fiduciary duties required by applicable laws, rules, and regulations. The Corporate
17
     Guidelines requires the Board to provide effective governance over the Company’s
18
     affairs for the benefit of stockholders, to ensure that management is capably executing
19
     its responsibilities, to use their free access to management to obtain all information
20
     necessary to fulfill their duties, and to evaluate the CEO-Chairman. The Director-
21
     Defendants did not comply with the requirements of the Corporate Guidelines. The
22   Director-Defendants violated the Corporate Guidelines because they participated in or
23   were recklessly unaware of the materially false and misleading statements and/or
24   omissions contained in the Company’s public filings and communications, and in
25   failing to maintain proper internal control and regulatory compliance. Because the
26   Director-Defendants violated the Corporate Guidelines, they face a substantial
27   likelihood of liability for breaching their fiduciary duties, and therefore demand upon
28   them is futile.
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 1
           237. The Directors have longstanding business and personal relationships with
 2
     each other and the Individual Defendants that preclude them from acting independently
 3
     and in the best interests of the Company and the shareholders. These conflicts of
 4   interest precluded the Director-Defendants from adequately monitoring the Company’s
 5   operations and internal controls and calling into question the Individual Defendants’
 6   conduct. Thus, any demand on the Directors would be futile.
 7         238. Each of the Director-Defendants is liable for wasting corporate assets and
 8   engaging in self-dealing because, while the Company had zero revenue, was low on
 9   assets, and had a dwindling common stock price, each put forward, and recommended
10   adoption of, Board proposals to (1) to increase the number of shares of common stock
11   the Company is authorized to issue its employees under the Company’s 2011 Incentive
12   Award Plan by 4,000,000 shares and (2) increase Defendants Auerbach’s and Eyler’s

13
     annual salaries by $63,000 and $39,492, respectively. Thus, each of the Director-
     Defendants face a substantial likelihood of liability for breaching their fiduciary duties,
14
     and therefore demand upon them is futile.
15
           239. Moreover, the Director-Defendants have further shown they are incapable
16
     of properly considering a demand through their improper rejection of a litigation
17
     demand made by a Company shareholder on August 29, 2017 based on the same
18
     underlying facts that form the basis of this action (the “Litigation Demand”). 15 The
19
     Litigation Demand outlined improper statements that the Court in the Securities Fraud
20
     Class Action found sufficient to deny a motion to dismiss under the heightened pleading
21
     standards of the Private Securities Litigation Reform Act and Federal Rule of Civil
22   Procedure 9(b), and that are also alleged to have been made in this action.
23

24
     15
25
        After his litigation demand was refused, the shareholder, Arnaud Van Der Gracht De
     Rommerswael, filed a derivative action in the United States District Court for the
26   Central District of California, captioned Van Der Gracht De Rommerswael v. Auerbach,
27
     et al., Case No. 8:18-cv-00236. The information discussed in this section regarding the
     making of, contents of, and refusal of the Litigation Demand is drawn from the
28   complaint filed in Van Der Gracht De Rommerswael’s action on February 9, 2018.
                                                  75
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 1
           240. The Director-Defendants rejected the Litigation Demand in bad faith and
 2
     did not perform an independent investigation in arriving at this decision. Counsel for
 3
     the Company and Defendants Auerbach and Eyler,16 the defendants in the Securities
 4   Fraud Class Action, in a January 9, 2018 letter refusing the Litigation Demand (the
 5   “Refusal”), revealed that the Director-Defendants primarily based their decision on a
 6   biased investigation previously conducted by, and on related materials previously
 7   compiled by, Latham & Watkins for the purpose of developing a defense in the
 8   Securities Fraud Class Action. Such an obvious conflict of interest resulted in the
 9   Director-Defendants performing a bad faith, non-independent investigation of the
10   claims presented in the Litigation Demand, and thus also the claims alleged in this
11   action.
12         241.    The Refusal also revealed that the Director-Defendants “unanimously

13
     concluded that pursuing the [Litigation] Demand would not be in Puma’s or its
     shareholders’ best interests.” The Refusal specifically stated, in relevant part:
14
                 As a result of the pending shareholder class action, the Company,
15               through its outside counsel, Latham & Watkins LLP, has already
16               undertaken an extensive investigation regarding the issues and
                 allegations presented in the [Litigation] Demand….
17

18                Given the similarity between the class action allegations and
                  your Demand, and in light of the extensive investigation that
19                Puma’s outside counsel has already undertaken, the Board
20                requested that Latham & Watkins provide the Board with a
                  detailed summary of the investigation and formal discovery
21                efforts completed thus far, along with the key issues and findings
22                resulting from that investigation. The Board also requested that
                  [Latham & Watkins] provide the Board key documents and
23                deposition testimony regarding the issues raised in the Demand.
24                The Board carefully considered this detailed summary, along
                  with the collection of key documents and deposition testimony
25                in evaluating the merits of the Demand.
26
27   16
       Latham & Watkins LLP (“Latham & Watkins”) serves as counsel for the Company
28   and Defendants Auerbach and Eyler.
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 1

 2                Following a review of these materials, and a comprehensive
                  presentation by [Latham & Watkins], the independent members
 3                of the Board concluded that it was not necessary to retain
 4                independent counsel to investigate the Demand.

 5                The independent board members also concluded, based on the
 6                evidence collected and reviewed, that the Demand lacks merit
                  and that pursuing any of the matters requested in the Demand
 7                would waste corporate resources and distract from the
 8                Company’s mission. The independent members of the Board
                  have therefore unanimously concluded that pursuing the Demand
 9                would not be in Puma’s or its shareholders’ best interests.
10         242. The Director-Defendants’ rejection of the Litigation Demand was reliant
11   on a biased investigation by Latham & Watkins which was conducted previously to
12   establish a defense against the Securities Fraud Class Action, and thus did not consist
13   of a neutral analysis of the claims presented therein or of the facts discovered during
14   such investigation—such claims and facts that are material to this present action.
15   Instead, Latham & Watkin’s investigation was conducted to gather evidence that would

16   exculpate the Securities Fraud Class Action defendants. The Litigation Demand

17
     specifically requested that “independent and disinterested directors with the assistance
     of independent outside legal counsel” investigate the misconduct alleged therein. The
18
     Director-Defendants failed to investigate the wrongdoing alleged herein properly and
19
     in good faith by relying instead on a biased investigation performed by non-independent
20
     legal counsel rather than conducting an independent investigation.
21
           243. While Latham & Watkins was advising and reporting to the Director-
22
     Defendants on issues related to the Litigation Demand, the Director-Defendants were
23
     aware that Latham & Watkins was concurrently representing the defendants in the
24
     Securities Fraud Class Action. The Director-Defendants have shown that they are
25   incapable or at least unwilling to utilize an independent process to properly consider a
26   demand, as made clear through their decision to use as legal counsel the same law firm
27   that is representing the Securities Fraud Class Action defendants. The Director-
28
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 1
     Defendants’ rejection of the Litigation Demand was not within the scope of the business
 2
     judgment rule. The Director-Defendants’ wrongful rejection of the Litigation Demand
 3
     thus confirms that demand on the Directors would be futile.
 4         244. Puma has been and will continue to be exposed to significant losses due to
 5   the wrongdoing complained of herein, yet the Directors have not filed any lawsuits
 6   against themselves or others who were responsible for that wrongful conduct to attempt
 7   to recover for Puma any part of the damages Puma suffered and will continue to suffer
 8   thereby. Thus, any demand on the Directors would be futile.
 9         245. The Individual Defendants’ conduct described herein and summarized
10   above could not have been the product of legitimate business judgment as it was based
11   on bad faith and intentional, reckless, or disloyal misconduct. Thus, none of the
12   Directors can claim exculpation from their violations of duty pursuant to the Company’s

13
     charter (to the extent such a provision exists). As a majority of the Directors face a
     substantial likelihood of liability, they are self-interested in the transactions challenged
14
     herein and cannot be presumed to be capable of exercising independent and
15
     disinterested judgment about whether to pursue this action on behalf of the shareholders
16
     of the Company. Accordingly, demand is excused as being futile.
17
           246. The acts complained of herein constitute violations of fiduciary duties
18
     owed by Puma’s officers and directors, and these acts are incapable of ratification.
19
           247. The Directors may also be protected against personal liability for their acts
20
     of mismanagement and breaches of fiduciary duty alleged herein by directors’ and
21
     officers’ liability insurance if they caused the Company to purchase it for their
22   protection with corporate funds, i.e., monies belonging to the stockholders of Puma. If
23   there is a directors’ and officers’ liability insurance policy covering the Directors, it
24   may contain provisions that eliminate coverage for any action brought directly by the
25   Company against the Directors, known as, inter alia, the “insured-versus-insured
26   exclusion.” As a result, if the Directors were to sue themselves or certain of the officers
27   of Puma, there would be no directors’ and officers’ insurance protection. Accordingly,
28   the Directors cannot be expected to bring such a suit. On the other hand, if the suit is
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 1
     brought derivatively, as this action is brought, such insurance coverage, if such an
 2
     insurance policy exists, will provide a basis for the Company to effectuate a recovery.
 3
     Thus, demand on the Directors is futile and, therefore, excused.
 4         248. If there is no directors’ and officers’ liability insurance, then the Directors
 5   will not cause Puma to sue the Individual Defendants named herein, since, if they did,
 6   they would face a large uninsured individual liability. Accordingly, demand is futile in
 7   that event, as well.
 8         249. Thus, for all of the reasons set forth above, all of the Directors, and, if not
 9   all of them, certainly at least three of the Directors, cannot consider a demand with
10   disinterestedness and independence.       Consequently, a demand upon the Board is
11   excused as futile.
12                                        FIRST CLAIM

13
              Against the Individual Defendants for Breach of Fiduciary Duties
           250.     Plaintiff incorporates by reference and re-alleges each and every
14
     allegation set forth above, as though fully set forth herein.
15
           251. Each Individual Defendant owed to the Company the duty to exercise
16
     candor, good faith, and loyalty in the management and administration of Puma’s
17
     business and affairs.
18
           252. Each of the Individual Defendants violated and breached his or her
19
     fiduciary duties of candor, good faith, loyalty, reasonable inquiry, oversight, and
20
     supervision.
21
           253. The Individual Defendants’ conduct set forth herein was due to their
22   intentional or reckless breach of the fiduciary duties they owed to the Company, as
23   alleged herein. The Individual Defendants intentionally or recklessly breached or
24   disregarded their fiduciary duties to protect the rights and interests of Puma.
25         254. In breach of their fiduciary duties owed to Puma, the Individual
26   Defendants willfully or recklessly caused the Company to issue false and misleading
27   statements and/or omissions of material fact and to sell hundreds of millions of dollars
28   worth of Company stock at artificially inflated prices for the purpose of increasing the
                                                  79
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 1
     Individual Defendants’ salaries and stock grants, to the detriment of the shareholders
 2
     and the Company. Moreover, the Individual Defendants failed to correct and/or caused
 3
     the Company to fail to correct the false and/or misleading statements and/or omissions
 4   of material fact referenced, rendering them personally liable to the Company for
 5   breaching their fiduciary duties.
 6          255. The Individual Defendants also breached their fiduciary duties by failing
 7   to maintain internal controls.
 8          256. Moreover, Defendant Auerbach breached his fiduciary duties to Puma by
 9   actively seeking to have the Company acquired by a larger pharmaceutical company
10   after Puma’s stock price was artificially inflated due to the false and misleading
11   statements.
12          257. The Individual Defendants had actual or constructive knowledge that the

13
     Company issued materially false and misleading statements, and they failed to correct
     the Company’s public statements and representations. The Individual Defendants had
14
     actual knowledge of the misrepresentations and omissions of material facts set forth
15
     herein, or acted with reckless disregard for the truth, in that they failed to ascertain and
16
     to disclose such facts, even though such facts were available to them. Such material
17
     misrepresentations and omissions were committed knowingly or recklessly and for the
18
     purpose and effect of artificially inflating the price of Puma’s securities.
19
            258. The Individual Defendants had actual or constructive knowledge that they
20
     had caused the Company to improperly engage in the fraudulent scheme set forth herein
21
     and to fail to maintain adequate internal controls. The Individual Defendants had actual
22   knowledge that the Company was engaging in the fraudulent schemes set forth herein,
23   and that internal controls were not adequately maintained, or acted with reckless
24   disregard for the truth, in that they caused the Company to improperly engage in the
25   fraudulent scheme and to fail to maintain adequate internal controls, even though such
26   facts were available to them. Such improper conduct was committed knowingly or
27   recklessly and for the purpose and effect of artificially inflating the price of Puma’s
28   securities.
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           259. These actions were not a good-faith exercise of prudent business judgment
 2
     to protect and promote the Company’s corporate interests.
 3
           260. As a direct and proximate result of the Individual Defendants’ breaches of
 4   their fiduciary obligations, Puma has sustained and continues to sustain significant
 5   damages. As a result of the misconduct alleged herein, the Individual Defendants are
 6   liable to the Company.
 7         261. Plaintiff on behalf of Puma has no adequate remedy at law.
 8                                      SECOND CLAIM
 9                  Against Individual Defendants for Unjust Enrichment
10         262. Plaintiff incorporates by reference and re-alleges each and every allegation
11   set forth above, as though fully set forth herein.
12         263. By their wrongful acts and false and misleading statements and omissions

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     of material fact that they made and/or caused to be made, the Individual Defendants
     were unjustly enriched at the expense of, and to the detriment of, Puma.
14
           264. The Individual Defendants either benefitted financially from the improper
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     conduct, and received unjustly lucrative bonuses tied to the false and misleading
16
     statements, or received bonuses, stock options, or similar compensation from Puma that
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     was tied to the performance or artificially inflated valuation of Puma, or received
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     compensation that was unjust in light of the Individual Defendants’ bad faith conduct.
19
           265. Plaintiff, as a shareholder and a representative of Puma, seeks restitution
20
     from the Individual Defendants and seeks an order from this Court disgorging all
21
     profits, benefits, and other compensation, including any performance-based or
22   valuation-based compensation, obtained by the Individual Defendants due to their
23   wrongful conduct and breach of their fiduciary duties.
24         266. Plaintiff on behalf of Puma has no adequate remedy at law.
25                                       THIRD CLAIM
26                   Against Individual Defendants for Abuse of Control
27         267. Plaintiff incorporates by reference and re-alleges each and every allegation
28   set forth above, as though fully set forth herein.
                                                  81
                               Verified Shareholder Derivative Complaint
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           268. The Individual Defendants’ misconduct alleged herein constituted an
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     abuse of their ability to control and influence Puma, for which they are legally
 3
     responsible.
 4         269. As a direct and proximate result of the Individual Defendants’ abuse of
 5   control, Puma has sustained significant damages. As a direct and proximate result of
 6   the Individual Defendants’ breaches of their fiduciary obligations of candor, good faith,
 7   and loyalty, Puma has sustained and continues to sustain significant damages. As a
 8   result of the misconduct alleged herein, the Individual Defendants are liable to the
 9   Company.
10         270. Plaintiff on behalf of Puma has no adequate remedy at law.
11                                      FOURTH CLAIM
12                  Against Individual Defendants for Gross Mismanagement

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           271. Plaintiff incorporates by reference and re-alleges each and every allegation
     set forth above, as though fully set forth herein.
14
           272. By their actions alleged herein, the Individual Defendants, either directly
15
     or through aiding and abetting, abandoned and abdicated their responsibilities and
16
     fiduciary duties with regard to prudently managing the assets and business of Puma in
17
     a manner consistent with the operations of a publicly-held corporation.
18
           273. As a direct and proximate result of the Individual Defendants’ gross
19
     mismanagement and breaches of duty alleged herein, Puma has sustained and will
20
     continue to sustain significant damages.
21
           274. As a result of the misconduct and breaches of duty alleged herein, the
22   Individual Defendants are liable to the Company.
23         275. Plaintiff, on behalf of Puma, has no adequate remedy at law.
24                                        FIFTH CLAIM
25              Against Individual Defendants for Waste of Corporate Assets
26         276. Plaintiff incorporates by reference and re-alleges each and every allegation
27   set forth above, as though fully set forth herein.
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           277. The Individual Defendants caused the Company to sell hundreds of
 2
     millions of dollars worth of Company stock at artificially inflated prices for the purpose
 3
     of increasing their salaries, bonuses, fees, and stock grants to the detriment of the
 4   shareholders and the Company.
 5         278. As a result of the foregoing, and by failing to properly consider the interests
 6   of the Company and its public shareholders, Defendants have caused Puma to waste
 7   valuable corporate assets, to incur many millions of dollars of legal liability and/or costs
 8   to defend unlawful actions, to engage in internal investigations, and to lose financing
 9   from investors and business from future customers who no longer trust the Company
10   and its products.
11         279. As a result of the waste of corporate assets, the Individual Defendants are
12   each liable to the Company.

13
           280. Plaintiff on behalf of Puma has no adequate remedy at law.
                                     PRAYER FOR RELIEF
14
           FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
15
     against all Individual Defendants as follows:
16
           (a)    Declaring that Plaintiff may maintain this action on behalf of Puma, and
17
     that Plaintiff is an adequate representative of the Company;
18
           (b)    Declaring that the Individual Defendants have breached and/or aided and
19
     abetted the breach of their fiduciary duties to Puma;
20
           (c)    Determining and awarding to Puma the damages sustained by it as a result
21
     of the violations set forth above from each of the Individual Defendants, jointly and
22   severally, together with pre-judgment and post-judgment interest thereon;
23         (d)           Directing Puma and the Individual Defendants to take all necessary
24   actions to reform and improve its corporate governance and internal procedures to
25   comply with applicable laws and to protect Puma and its shareholders from a repeat of
26   the damaging events described herein, including, but not limited to, putting forward for
27   shareholder vote the following resolutions for amendments to the Company’s Bylaws
28   or Articles of Incorporation and the following actions as may be necessary to ensure
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 1
     proper corporate governance policies:
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             1.    a proposal to strengthen the Board’s supervision of operations and
 3
     develop and implement procedures for greater shareholder input into the policies and
 4   guidelines of the board;
 5           2.    a provision to permit the shareholders of Puma to nominate at least three
 6   candidates for election to the board; and
 7           3.    a proposal to ensure the establishment of effective oversight of
 8   compliance with applicable laws, rules, and regulations.
 9           (e)          Awarding Puma restitution from Individual Defendants, and each of
10   them;
11           (f)   Awarding Plaintiff the costs and disbursements of this action, including
12   reasonable attorneys’ and experts’ fees, costs, and expenses; and

13
             (g)   Granting such other and further relief as the Court may deem just and
     proper.
14
                                   JURY TRIAL DEMANDED
15
             Plaintiff hereby demands a trial by jury.
16

17
     Dated: May 30, 2018                       Respectfully submitted,
18
                                               THE ROSEN LAW FIRM, P.A.
19

20                                             /s/ Laurence M. Rosen
                                               Laurence M. Rosen (SBN 219683)
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24                                             Email: lrosen@rosenlegal.com

25                                             Liaison Counsel for Plaintiff
26
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27                                             Timothy W. Brown
                                               240 Townsend Square
28
                                                   84
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 2                                       Telephone: (516) 922-5427
                                         Email: tbrown@thebrownlawfirm.net
 3
                                         Counsel for Plaintiff
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                                                             VERIFICATION



                         I, 3DXO 'XUDQ am the plaintiff in the within action. I have read the foregoing

                 complaint and know the contents thereof. The allegations of the complaint are true of my

                 personal knowledge, except as to the matters therein stated to be alleged on

                 information and belief, and as to those matters I believe them to be true.

                         I declare under penalty of perjury under the laws of the United States that

                 the foregoing is true and correct. Executed this _th day of 0D\,
                                                                      
                                                                                  2018.
                                                                                        




                                                                            _________
                                                               3DXO 'XUDQ
